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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  QORVO, INC.,                                     )
                                                   )
                        Plaintiff,                 )
                                                   )
         v.                                        )     C.A. No. 21-1417(JPM)
                                                   )
  AKOUSTIS TECHNOLOGIES, INC. and                  )     DEMAND FOR JURY TRIAL
  AKOUSTIS, INC.,                                  )
                                                   )
                        Defendants.                )
                                                   )

                              SECOND AMENDED COMPLAINT

        Pursuant to Federal Rule of Civil Procedure 15(a)(2) and this Court’s Order granting

 Plaintiff, Qorvo, Inc. (“Plaintiff” or “Qorvo”)’s unopposed motion for leave, Qorvo, by and

 through its attorneys, submits this Second Amended Complaint and brings this action for damages,

 injunctive relief and declaratory relief against Akoustis Technologies, Inc. and Akoustis, Inc.

 (collectively, “Defendants” or “Akoustis”) and alleges as follows:

 I.     NATURE OF THE ACTION

        1.      This is an action for patent infringement, false advertising, false patent marking,

 unfair competition, trade secret misappropriation, racketeering, and civil conspiracy, respectively

 arising under the patent laws of the United States, 35 U.S.C. § 1, et seq., the Lanham Act, 15

 U.S.C. § 1125, the Defense of Trade Secrets Act (“DTSA”) (18 U.S.C. § 1832, et seq.), the

 Racketeer Influenced and Corrupt Organizations Act (“RICO”) (18 U.S.C. § 1961, et seq.), the

 North Carolina Trade Secrets Protection Act (N.C. Gen. Stat § 66-152, et seq.), and civil

 conspiracy laws of the state of North Carolina.




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 II.       PARTIES

           2.   Plaintiff is a Delaware corporation with its principal place of business at 7628

 Thorndike Road, Greensboro, North Carolina 27409.

           3.   Defendant Akoustis Technologies, Inc. is a Delaware corporation with its principal

 place of business at 9805 Northcross Center Court, Suite A, Huntersville, North Carolina, 28078.

 The Delaware registered agent for Akoustis Technologies, Inc. is Corporation Service Company,

 251 Little Falls Drive, Wilmington, DE 19808.

           4.   Defendant Akoustis, Inc. is a Delaware corporation with its principal place of

 business located at 9805 Northcross Center Court, Suite A, Huntersville, North Carolina, 28078.

 The Delaware registered agent for Akoustis, Inc. is Corporation Service Company, 251 Little Falls

 Drive, Wilmington, DE 19808.

 III.      JURISDICTION AND VENUE

           5.   This Court has subject matter jurisdiction over Qorvo’s patent infringement and

 false marking claims pursuant to 28 U.S.C. §§ 1331 and 1338(a), because they arise under the laws

 of the United States, specifically those relating to the infringement of U.S. patents, 35 U.S.C. § 1,

 et seq.

           6.   This Court has subject matter jurisdiction over Qorvo’s Lanham Act claims

 pursuant to 28 U.S.C. § 1331, because they arise under the laws of the United States, specifically

 those related to the Lanham Act, 15 U.S.C. §§ 1051, et seq.

           7.   This Court has subject matter jurisdiction over Qorvo’s DTSA claims pursuant to

 28 U.S.C. § 1331, because they arise under the laws of the United States, specifically those related

 to the DTSA, 18 U.S.C. § 1832, et seq.




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        8.      This Court has subject matter jurisdiction over Qorvo’s RICO claims pursuant to

 28 U.S.C. § 1964 and 28 U.S.C. § 1331, because they arise under the laws of the United States,

 specifically those related to the RICO, 18 U.S.C. § 1961 et seq.

        9.      This Court also has supplemental jurisdiction over Qorvo’s state law claims

 pursuant to 28 U.S.C. § 1367, because the supplemental state law claims arise out of the same case

 or controversy as the federal claims over which this Court has original jurisdiction.

        10.     Akoustis is subject to this Court’s personal jurisdiction, at least because Akoustis

 is incorporated, organized, and existing under the laws of the State of Delaware and has a registered

 agent in Wilmington, Delaware.

        11.     Venue is proper in this judicial district pursuant to 18 U.S.C. § 1965, 28 U.S.C.

 § 1391 and 28 U.S.C. § 1400(b) at least because Akoustis resides in this district.

 IV.    FACTUAL BACKGROUND

        A.      Qorvo

        12.     Qorvo is a leader in the development and commercialization of technologies and

 products for wireless and wired connectivity. Qorvo combines a broad portfolio of innovative

 radio frequency (“RF”) solutions, highly differentiated semiconductor technologies, systems-level

 expertise and global manufacturing to supply to a diverse set of customers a broad range of

 products that enable a more connected world.

        13.     Qorvo was formed on January 1, 2015 as a result of the merger between TriQuint

 Semiconductor (“TriQuint”) and RF Micro Devices (“RFMD”), which were formed in 1985 and

 1991, respectively. Qorvo is headquartered in Greensboro, North Carolina.

        14.     Qorvo operates in a highly competitive industry characterized by rapid advances in

 technology and new product introductions. Qorvo’s continued success therefore depends in

 substantial part on its constant attention to research and development and the creation of new

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 technologies. Each year, Qorvo invests significant resources on research and development

 activities to develop the most innovative and highest quality products in the markets in which it

 operates, and to establish the most efficient, repeatable, and highest quality manufacturing

 processes to support those products.

        15.     Qorvo’s success depends in part on its ability to improve its products and processes

 faster than its competitors, anticipate changing customer requirements, and successfully develop

 and launch new products while reducing costs.

        16.     As part of its research and development, Qorvo has produced, among other cutting-

 edge technologies, a wide range of novel technologies and processes directed to thin-film bulk

 acoustic wave (BAW) resonator filters.

        17.     BAW resonator filters, or BAW filters, are a vital component in advanced radio

 frequency filtering solutions for wireless devices, as well as the world's most advanced radar and

 communications systems.      This is because wireless devices communicate in particularized

 frequency bands in the electromagnetic spectrum that are assigned by government entities to

 prevent interference between different devices and service providers. Thus, because devices using

 nearby frequencies could create interference, it is important to filter out signals, through BAW

 filters, from those frequencies that are irrelevant to a particular device (i.e., communications in

 frequency bands above or below that assigned to the device) to improve communications efficacy.

        18.     The rapid growth of wireless devices has created an increasing demand for

 bandwidth, resulting in different devices using immediately adjacent bands.            Thus, filter

 effectiveness has become a critical requirement. Moreover, prior filter designs were relatively less

 effective for removing unwanted frequencies. Thus, demand for more effective filters has greatly

 increased.



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        19.     Qorvo’s current BAW filter offerings are the result of many years of intensive,

 dedicated, and expensive research, design, development, testing, and refinement.

        20.     Qorvo’s BAW filters are industry leading.         Qorvo’s BAW filters have been

 instrumental in awards received by Qorvo, including the 2015 Corporate Innovation Award (for

 its development of RF solutions, including BAW technology), the 2020 World Electronic

 Achievement Award (for Qorvo’s QM28014 antennaplexer, which utilizes Qorvo BAW filters),

 and the 2020 GTI Innovative Breakthrough Award (for Qorvo’s RF Fusion™ 5G chipset, which

 utilizes Qorvo BAW filters). Qorvo’s substantial research and development investment was (and

 remains) key to gaining its current position in the market and BAW filters enjoy competitive

 performance advantages because of such investment.

        21.     Qorvo protects its investments in its technology and products, including its BAW

 filter products, by, among other things, maintaining information regarding its products as

 confidential and proprietary information and filing patent applications.

        22.     Examples of Qorvo’s confidential and proprietary information include, but are not

 limited to, technical expertise and know-how, such as BAW filter designs, specifications,

 development methods and techniques, material specifications, design tolerances, packaging,

 quality assurance and testing, manufacturing specifications, methods, and techniques; and business

 information, such as future product development and refinement plans, pricing information, cost

 information, marketing and sales strategies, internal organization structures, employee

 information, and capabilities, as well as supplier lists, customer lists, contracts, demands, desires,

 and requirements related to the BAW filters (together referred to herein as the “Qorvo BAW

 Proprietary Information”).




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        23.     Qorvo takes a number of commercially reasonable steps to maintain the

 confidentiality of documents containing Qorvo BAW Proprietary Information. Exemplary steps

 include, but are not limited to: restricting access to confidential documents within its document

 storage and management systems, marking its confidential documents as confidential, causing its

 employees and other recipients of its confidential information to enter into agreements having non-

 disclosure obligations, and reminding employees of their obligation to return Qorvo’s confidential

 materials and to otherwise keep secret confidential information of Qorvo’s that may be retained in

 their unaided memory.

        24.     Qorvo has also implemented device-based password protection, workspace-based

 password protections, role-based password protections, folder-based password protections, file-

 based password protections, and/or using IT systems to detect misuse and/or theft of confidential

 information.   Where appropriate, Qorvo takes steps to limit electronic access to certain

 confidential/proprietary documents and information to only authorized need-to-know Qorvo

 employees.

        25.     Additionally, Qorvo’s regular practice is to mark as “confidential” and/or

 “proprietary” any written materials containing Qorvo BAW Proprietary Information and/or other

 confidential information. The typical legend Qorvo uses to mark its documents recites “Qorvo™

 Confidential & Proprietary Information.” Qorvo’s efforts to use this legend (or similar markings)

 are intended to serve as both a reminder to employees (or other recipients) that the materials are

 highly sensitive and subject to disclosure restrictions, and also to put unintended recipients and

 other third parties on notice that the content within the written materials are owned by Qorvo and

 should not be disseminated without authorization.




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        26.     Additionally, Qorvo also provides its employees with a handbook detailing Qorvo’s

 policy mandating that employees maintain the confidentiality of Qorvo BAW Proprietary

 Information and other confidential information. Further, among other steps, Qorvo enters into

 non-disclosure and other agreements with its employees obligating such employees not to disclose

 or use Qorvo BAW Proprietary Information or other confidential information without

 authorization and/or without making such disclosure subject to a non-disclosure or other similar

 agreement. Qorvo also enters into agreements with its employees that obligate them not to disclose

 or use Qorvo’s confidential information after such time as the employees’ employment with Qorvo

 is terminated. Upon an employee’s termination, Qorvo also requests that the employee execute a

 document acknowledging the employee’s agreement not to disclose Qorvo confidential

 information. Qorvo also enters into non-disclosure agreements or similar agreements with third

 parties (e.g., customers, suppliers, etc.) to impose non-disclosure obligations on the third parties

 as to Qorvo BAW Proprietary Information and other confidential information.

        27.     Qorvo has invested significant time, money and human capital in developing,

 maintaining, and protecting the Qorvo BAW Proprietary Information and other confidential

 information.   The Qorvo BAW Proprietary Information and other confidential information

 described herein is strategic, proprietary information that is not generally known to the public and

 would not be ascertainable without the expenditure of substantial time, effort, and resources.

        28.     The Qorvo BAW Proprietary Information and other confidential information

 described herein has significant independent economic value, potential and actual, as a result of

 not being generally known or readily ascertainable, including by those in the industry. Qorvo’s

 confidential information, including but not limited to the Qorvo BAW Proprietary Information and

 other confidential information described herein, gives Qorvo an advantage in attracting, recruiting,



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 and retaining talented employees that contribute to various aspects of Qorvo’s business, including

 but not limited to the design, testing, production, and quality of its BAW filters and other products;

 and it gives Qorvo an advantage over competitors in more quickly, efficiently, and effectively

 designing, developing, modeling, simulating, testing, qualifying, manufacturing, marketing,

 selling, and supporting high quality BAW filters and other products. Qorvo protects its technology

 and products, including its BAW filter and other products, by, among other things, maintaining

 information regarding its products as confidential and proprietary.

        29.     Qorvo’s success depends in part on its ability to develop and improve its products

 and processes faster than its competitors, anticipate changing customer requirements, and

 successfully develop and launch new products while reducing cost. Akoustis’ acquisition of,

 access to, disclosure and use of Qorvo’s confidential information undermines, among other things,

 Qorvo’s ability to do keep its competitive edge by being first to market (relative to its competitors,

 including Akoustis) with the highest quality filters and other products meeting customers’ needs.

        30.     Because sales in the BAW filter market are driven, in part, by how quickly the

 supplier can develop the filter meeting customers’ ever increasing requirements, Qorvo BAW

 Proprietary Information, would be highly valuable to a startup company trying to enter the market,

 such as Akoustis. Indeed, acquiring Qorvo BAW Proprietary Information would enable a startup

 company to skip over many of the laborious, time-exhaustive and highly expensive trial and error

 processes required to design BAW filters to satisfy such requirements—processes that every other

 company has to endure to fairly compete. And while Qorvo BAW Proprietary Information would

 be highly valuable to any BAW filter market entrant, it is of particularly high value to a new market

 entrant that intends to offer products that directly compete with and provide a substitute for the

 precise BAW filters that Qorvo sells, and that were developed on the basis of the Qorvo BAW



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 Proprietary Information. Effectively, a startup could use Qorvo BAW Proprietary Information to

 unfairly advance its ability to compete earlier and more aggressively with market participants—

 and, as described below, Akoustis has done exactly that.

        31.      To protect its valuable intellectual property, Qorvo also often seeks patent

 protection. Qorvo has applied for and has been awarded over 3,000 patents in the United States

 and abroad through its history (including through TriQuint and RFMD), and including hundreds

 of patents related to its BAW filter technology.

        32.      Two of these patents, U.S. Patent Nos. 7,522,018 (the “’018 Patent”) and 9,735,755

 (the “’755 Patent”) describe important structural features of BAW filters that enable the

 performance required by today’s wireless devices. A copy of each patent (collectively, the

 “Patents-in-Suit”) is attached hereto as Exhibits A (the ’018 Patent) and Exhibit B (the

 ’755 Patent).

        33.      The ’018 Patent (Exhibit A), entitled “Electro-Acoustic Resonator With A Top

 Electrode Layer Thinner Than A Bottom Electrode Layer,” was duly and legally issued on April

 21, 2009 from an application filed on December 4, 2003, naming Robert Milsom and Hans-Peter

 Löbl as the inventors.

        34.      The ’018 Patent claims priority to European Application No. 02258613, filed

 December 13, 2002.

        35.      Qorvo owns, by assignment, all substantial right, title, and interest in and to the

 ʼ018 Patent.

        36.      Pursuant to 35 U.S.C. § 282, the ʼ018 Patent is presumed valid.

        37.      Claim 1 of the ’018 Patent reads as follows:

                 1. Electro-acoustic resonator (1, 8, 17) comprising a membrane structure
                 FBAR (1) with a layer structure comprising a piezoelectric layer (5, 14, 24)

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                  and a top (6, 15, 25) and a bottom (4, 13, 23) electrode layer, with the
                  thickness (T1, T2, . . . T6) of the two electrode layers being unequal,
                  characterised in that the top electrode layer (Tl, T3, TS) is thinner than the
                  bottom (T2, T 4, T6) electrode layer to increase a filter bandwidth of the
                  electro-acoustic resonator.

        38.       The ’755 Patent (Exhibit B), entitled “BAW Resonator Having Lateral Energy

 Confinement And Methods of Fabrication Thereof,” was duly and legally issued on August 15,

 2017 from an application filed on October 6, 2015, naming Gernot Fattinger and Alireza Tajic as

 the inventors.

        39.       The ’755 Patent claims priority to provisional application No. 62/207,702, filed

 August 20, 2015.

        40.       Qorvo owns, by assignment, all substantial right, title, and interest in and to the

 ʼ755 Patent.

        41.       Pursuant to 35 U.S.C. § 282, the ʼ755 Patent is presumed valid.

        42.       Claim 9 of the ’755 Patent reads as follows:

                  9. A BAW resonator comprising:
                  a piezoelectric layer;
                  a first electrode on a first surface of the piezoelectric layer;
                  a second electrode on a second surface of the piezoelectric layer opposite
                  the first electrode on the first surface of the piezoelectric layer;
                  a passivation layer on a surface of the second electrode opposite the
                  piezoelectric layer within an active region of the BAW resonator, the
                  passivation layer having a thickness (TPA) within the active region of the
                  BAW resonator; and
                  one or more material layers on the second surface of the piezoelectric layer
                  adjacent to the second electrode in an outer region of the BAW resonator,
                  the outer region of the BAW resonator being a region outside of the active


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                region of the BAW resonator and the one or more material layers having a
                thickness that is n times the thickness (TPA) of the passivation layer within
                the active region, wherein:
                n is a value other than 1; and
                n is such that the outer region of the BAW resonator and the active region
                of the BAW resonator are acoustically matched in such a manner that one
                or more wavelengths that cause energy leakage into the outer region are not
                excited in the active region.

        43.     Qorvo’s considerable investment in the development, manufacturing, and

 marketing of its BAW filters, as well as its efforts to maintain the confidentiality of the Qorvo

 BAW Proprietary Information and patent other innovations related to its BAW filters—such as

 through the Patents-in-Suit—has resulted in substantial sales for Qorvo in the BAW filter market.

        44.     Qorvo’s business is also dependent on its ability to attract and keep key technical

 personnel and management.        Qorvo has invested substantial time, effort, and expense in

 developing and training its employees’ knowledge and experience in the areas crucial to Qorvo’s

 BAW filter technologies, including in RF engineering, integrated circuit and filter design, and

 technical marketing and support.

        B.      Akoustis

        45.     Defendant Akoustis was founded in 2014 by Jeffrey B. Shealy, Steven P. Denbaars,

 and Richard T. Ogawa.

        46.     Mr. Shealy was, from October 2001 through February 2014, a vice-president of

 RFMD which, together with TriQuint, merged to become Qorvo in 2015. By virtue of his

 leadership role at RFMD, Mr. Shealy had extensive knowledge of RFMD’s and Qorvo’s

 operations, business strategies, patents, and personnel as of the date of his departure from Qorvo

 to form Akoustis.


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            47.   Mr. Shealy also sits on Akoustis’ Board of Directors, a majority of which are Ex-

 Qorvo employees. Beyond Mr. Shealy, Co-Chairman Jerry D. Neal founded RFMD in 1991 and

 served in various leadership roles, including as Executive Vice President of Marketing and

 Strategic Development at the time of his departure. Board member Arthur E. Geiss was Vice

 President of Wafer Fab Operations at RFMD until his departure. Board member Suzanne Rudy

 was Vice President of Tax and Corporate Treasurer, Compliance Officer, and Assistant Secretary

 at Qorvo at the time of her departure. Mr. Neal, Mr. Geiss, and Ms. Rudy had extensive knowledge

 of Qorvo’s (including RFMD’s) operations, business strategies, patents, and personnel as of their

 dates of departure.

            48.   Akoustis was formed specifically to compete with Qorvo (and its predecessor

 companies) in the BAW filter market. While Akoustis describes itself as being focused on

 “developing, designing, and manufacturing … RF filter products for the wireless industry,” its

 current product offerings are narrowly limited to what it calls its “3-7 GHz BAW RF filter

 portfolio.”

            49.   Akoustis’ “3-7 GHz BAW RF filter portfolio” currently includes twelve BAW

 filters.              See      ALL        PRODUCTS          -      AKOUSTIS          TECHNOLOGIES,

 https://akoustis.com/products/filters/applications/all-products/ (last visited Sept. 14, 2021).

            50.   Akoustis’ BAW filters compete with Qorvo’s BAW filters.

            51.   While Qorvo’s design and development of BAW filters has taken many years and

 great expense, Akoustis was able to design and qualify its 3-7 GHz BAW RF filter portfolio from

 scratch in just a few years and with just a fraction of the number of Qorvo’s employees and a

 fraction of the amount of Qorvo’s research and development investment. To do so, Akoustis




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 improperly leveraged Qorvo’s intellectual property, including the Patents-in-Suit and the Qorvo

 BAW Proprietary Information, as obtained by its systematic poaching of Qorvo’s employees.

        52.     Akoustis built its 3-7 GHz BAW RF filter portfolio using Qorvo’s patented

 technology. Each of Akoustis’ BAW filters identified above infringes the Patents-in-Suit. Each

 of Akoustis’ BAW filters uses the structural configurations disclosed and claimed by the Patents-

 in-Suit to provide the performance necessary to compete in the BAW filter market. On information

 and belief, Akoustis has been aware of Qorvo’s patent portfolio throughout its existence, including

 specifically the Patents-in-Suit.

        53.     On information and belief, Akoustis has also used the Qorvo BAW Proprietary

 Information to design, manufacture, market, and sell its BAW filters and other offerings, and to

 otherwise develop its technological know-how.

        C.      Akoustis’ Poaching of Qorvo Employees

        54.     Since its inception, Akoustis has engaged in conscious, methodical, and systematic

 recruitment and solicitation of Qorvo’s employees in all major areas. Indeed, and beyond a

 majority of its board being Ex-Qorvo employees, Akoustis has poached over twenty key

 employees, including crucial personnel from engineering, operations, sales, quality control and

 testing, packaging, and management.

        55.     On information and belief, Akoustis recruited Ex-Qorvo employees for positions

 with largely overlapping responsibilities to their positions at Qorvo, focusing on employees with

 the specialized knowledge of Qorvo’s confidential and proprietary information, including the

 Qorvo BAW Proprietary Information, that Akoustis needed at the particular stage of its

 development. For example, Qorvo focused on those Qorvo employees with business development

 and BAW filter design experience when it was initially defining and designing its products, and



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        60.     The Ex-Qorvo BAW Employees entered into non-disclosure agreements as a

 condition of their employment. The non-disclosure agreements require the Ex-Qorvo BAW

 Employees not to use, take, or disclose Qorvo’s confidential information, including the Qorvo

 BAW Proprietary Information, without authorization.

        D.      Akoustis Engages in Widespread Misappropriation of Qorvo’s Trade Secrets

        61.     Akoustis has built its company based on the misappropriation of Qorvo BAW

 Proprietary Information and other confidential information, using that information to shortcut the

 hard work of building an innovative company and to shorten the typical time to market for new

 products in the relevant market.

        62.     Discovery has confirmed the blatant and widespread nature of Akoustis’ efforts to

 steal Qorvo’s trade secrets and its actual use of the same throughout the company’s operation.

 Indeed, this disregard for the propriety of Qorvo’s trade secrets has been found in nearly every

 area of Akoustis’ operations, with direct evidence of Qorvo’s trade secrets being misappropriated

 at the highest of levels within the company, including but not limited the CEO of Akoustis, Jeffrey

 Shealy and other members of the executive team. Akoustis’ files are littered with documents that

 are expressly marked as Qorvo’s “Confidential” and “Proprietary” information. Akoustis

 employees unabashedly acknowledge in internal communications that certain documents are

 Qorvo’s confidential files. Akoustis employees nonetheless used the confidential information.

 Akoustis employees even re-purposed a highly confidential Qorvo document by stripping-off the

 Qorvo confidentiality legend and inserting Akoustis’ own logo on the Qorvo document. As set

 forth below, Qorvo has identified at least 86 trade secrets that Akoustis has misappropriated, and

 Qorvo believes that recent and ongoing discovery will show Akoustis’ misappropriation of

 additional trade secrets.



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        63.     One of the primary means Akoustis used to misappropriate Qorvo BAW

 Proprietary Information and other confidential information was to strategically hire key Qorvo

 employees. For example, Akoustis has poached the Ex-Qorvo BAW Employees for employment

 in positions with substantial responsibility overlap to those employees’ previous roles at Qorvo.

 On information and belief, the Ex-Qorvo BAW Employees were hired for the specific purpose of

 using their knowledge of the Qorvo BAW Proprietary Information to permit Akoustis to compete

 directly against Qorvo for customers and market share.

        64.     Akoustis has aggressively recruited Qorvo employees to obtain confidential

 information. On several occasions, Akoustis proactively contacted employees with access to

 Qorvo BAW Proprietary Information—sometimes repeatedly—as part of this recruitment scheme.

 For example, in late 2020, an Akoustis engineering manager contacted a Qorvo Product Engineer

 through LinkedIn. During a subsequent call, the Akoustis engineering manager expressly asked

 the Qorvo Product Engineer to disclose Qorvo BAW Proprietary Information. More specifically,

 the Akoustis engineering manager asked this Qorvo employee to access the corporate yield page

 on Qorvo’s computer system and provide screen shots of information found on that page. The

 corporate yield page is a repository for confidential information. It reflects, for example, analytical

 tools Qorvo is using to assess its products, the parts that Qorvo is using, the tests that Qorvo is

 running on those parts, and the performance and failure rates of those parts. There is no legitimate

 reason that Akoustis would ask a Qorvo employee to provide this type of confidential information

 as part of the recruitment process. The Qorvo Product Engineer felt that Akoustis’ request for the

 confidential information was unethical and reported the incident to a supervisor.

        65.     The sheer number of highly-knowledgeable and qualified Qorvo employees

 poached by Akoustis over its history has resulted in Akoustis inevitably using their knowledge and



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 experience, including the Qorvo BAW Proprietary Information. It is highly probable—and on

 information and belief, inevitable—that Akoustis has used, relied upon, and exploited the Ex-

 Qorvo BAW Employees’ knowledge of the Qorvo BAW Proprietary Information. In addition to

 their knowledge of and experience with Qorvo BAW Proprietary Information, these employees

 had been entrusted with access to documents containing Qorvo BAW Proprietary Information and

 other confidential information. Upon information and belief, during the time period prior to their

 departure from Qorvo and their joining Akoustis, these employees had a specific opportunity to

 improperly access and take Qorvo documents containing Qorvo BAW Proprietary Information and

 other confidential information, and the trade secrets within them, including for disclosure or use

 at Akoustis without the express or implied consent or authority of Qorvo. Furthermore, at least

 because Akoustis recruited and hired these employees (those who had accessed and taken such

 Qorvo documents), Akoustis, as their new employer, had a specific opportunity to improperly

 obtain and use the documents, and the trade secrets within them, without the express or implied

 consent or authority of Qorvo.

        66.     For example, in October 2019, Akoustis recruited Robert Dry. Mr. Dry was the

 Director of Qorvo’s Infrastructure and Defense Packaging business. In that position, Mr. Dry had

 access and was aware of Qorvo BAW Proprietary Information, including but not limited to micro

 BAW processes used to shrink the size of filters. Mr. Dry also had access to confidential Qorvo

 documents reflecting Qorvo’s trade secrets, including but not limited to Qorvo BAW Proprietary

 Information and other confidential information described herein. As Akoustis attempted to

 manufacture competing products, Akoustis was in need of the specific kind of confidential

 information known to Mr. Dry. This technology is not publicly available and is highly valuable.

 Mr. Dry was also a member of the patent committee at Qorvo and one of the persons who



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 determined whether inventions should be maintained as trade secrets or disclosed in patent

 applications. As such, Mr. Dry was in a position to have widespread knowledge of Qorvo BAW

 Proprietary information.   On information and belief, Akoustis actively recruited Mr. Dry

 specifically because of his knowledge of Qorvo’s proprietary information and placed him in the

 position of Vice President of Operations with the expectation that Mr. Dry would use Qorvo BAW

 Proprietary information to the benefit of Akoustis, including micro BAW technology.

          67.   After Akoustis targeted and hired him, Mr. Dry, in breach of his obligations to

 Qorvo, distributed confidential Qorvo documents within Akoustis, including but not limited to

 documents relating to the manufacture of Qorvo’s BAW filters, such as documents concerning

 assembly, packaging, and inspection of BAW filters and documents relating to customer

 requirements for such BAW filters. Upon information and belief, Mr. Dry took the Qorvo

 documents without authorization while he was employed by Qorvo. The confidential Qorvo

 documents Mr. Dry stole and shared with Akoustis were expressly marked confidential, and

 contained trade secret information. For at least this reason, Mr. Dry knew or should have known

 that the information in such documents included one or more Qorvo trade secrets and that he was

 not authorized to distribute the documents to Akoustis personnel. Nevertheless, Mr. Dry

 distributed confidential Qorvo documents in response to requests from other Akoustis employees.

 Upon information and belief, Akoustis then used the confidential Qorvo documents in connection

 with developing BAW filters that compete with Qorvo’s products. As the Vice President

 Operations and Test at Akoustis, Mr. Dry is one of just ten members of Akoustis’ “management

 team.”

          68.   By way of further example, in November 2020, Akoustis recruited David Breton.

 Mr. Breton was a Manager of BAW Research and Development at Qorvo. In that position, Mr.



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 Breton had access to and was aware of Qorvo BAW Proprietary Information, including but not

 limited to how Qorvo filters achieve superior performance in high frequency bands (5-7 GHz). Mr.

 Breton was also knowledgeable about the customized, proprietary, and highly confidential tools

 used by the Developmental Physics Team at Qorvo to perform simulations as part of the

 technology development process.       As Akoustis is engaged in designing, developing and

 manufacturing competing products in the 5-7 GHz frequency band, Akoustis was in need of the

 specific kind of confidential information known to Mr. Breton. The Qorvo BAW Proprietary

 Information known to Mr. Breton is not publicly available and is highly valuable. On information

 and belief, Akoustis actively and specifically recruited Mr. Breton and placed him in the position

 of Manager with the expectation that Mr. Breton would use Qorvo BAW Proprietary Information,

 including confidential information concerning how Qorvo simulates and achieves improved

 performance in its BAW filters, to the benefit of Akoustis.

        69.     By way of further example, in November 2019 Akoustis recruited Guillermo

 Moreno. Mr. Moreno was a Senior BAW Design Engineer at Qorvo. In that position, Mr. Moreno

 had access to and was aware of Qorvo BAW Proprietary Information, including but not limited to

 how Qorvo BAW filters achieve superior performance. The Qorvo BAW Proprietary Information

 known to Mr. Moreno is not publicly available and is highly valuable. As Akoustis engaged in

 designing, developing and manufacturing competing BAW products, Akoustis was in need of the

 specific kind of confidential information known to Mr. Moreno. On information and belief,

 Akoustis actively recruited Mr. Moreno and placed him in the position of Design Engineering

 Manager with the expectation that Mr. Moreno would use Qorvo BAW Proprietary information to

 the benefit of Akoustis.




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         70.    By way of further example, in May 2020 Akoustis recruited William Schmid. Mr.

 Schmid was a Senior RF Test Engineer at Qorvo. In that position, Mr. Schmid had access to and

 was aware of Qorvo BAW Proprietary Information, including but not limited to the proprietary

 procedures and software libraries that Qorvo uses to test products. The Qorvo BAW Proprietary

 Information known to Mr. Schmid is not publicly available and is highly valuable. In its business

 cycle, Akoustis was in need for someone specifically having knowledge of Qorvo’s confidential

 and proprietary information relating to testing of BAW filters. Accordingly, on information and

 belief, Akoustis actively recruited Mr. Schmid and placed him in the position of Operations Test

 Senior Manager with the expectation that Mr. Schmid would use Qorvo BAW Proprietary

 information, including Qorvo’s testing procedures and information concerning Qorvo’s software

 libraries.

         71.    By way of further example, in July 2020, Akoustis recruited Kindra Lane. Ms.

 Lane was a Senior NPI Planner at Qorvo. In that position, Ms. Lane worked on new product

 development and was responsible for worldwide logistics. Ms. Lane had access to and was aware

 of Qorvo BAW Proprietary Information, including but not limited to Qorvo’s EFC modeling tool,

 which is a secret and confidential estimation process Qorvo has built to estimate costs for products.

 Ms. Lane was also aware of Qorvo’s confidential internal financial targets and mid- and long-term

 plans, proprietary cost issues relating to the manufacture of BAW filters, and the identities of

 Qorvo’s critical vendors. The Qorvo BAW Proprietary Information known to Ms. Lane is not

 publicly available and is highly valuable. Akoustis was in specific need of the Qorvo BAW

 Proprietary Information known to Ms. Lane, including Qorvo’s proprietary modeling processes

 and information related to sourcing components and materials from world-wide suppliers critical

 to the manufacture of BAW filters. Accordingly, on information and belief, Akoustis actively and



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 specifically recruited Ms. Lane and placed her in the position of Operations Planning Manager

 with the expectation that Ms. Lane would use Qorvo BAW Proprietary information, including

 information concerning Qorvo’s EFC modeling tool, financial targets, vendors, and mid- and long-

 term plans to the benefit of Akoustis.

        72.     By way of further example, in April 2019 Akoustis recruited Wendy Wright. Ms.

 Wright was a Senior Business Analyst at Qorvo. In that position, Ms. Wright was responsible for

 implementing and customizing Qorvo’s integrated business planning (“IBP”) system. Ms. Wright

 had access to and was aware of Qorvo BAW Proprietary Information, including but not limited to

 Qorvo’s customized IBP system and Qorvo’s proprietary process for generating “what if”

 scenarios to analyze demand and supply. The Qorvo BAW Proprietary Information known to Ms.

 Wright is not publicly available and is highly valuable. On information and belief, Akoustis

 actively recruited Ms. Wright and placed her in the position of Global Planning Manager with the

 expectation that Ms. Wright would use Qorvo BAW Proprietary information, including

 information concerning Qorvo’s IBP system and “what if” analysis to the benefit of Akoustis.

        73.     By way of further example, in August 2020 Akoustis recruited Paul Makowenskyj.

 Mr. Makowenskyj was a Senior Customer Quality Engineer at Qorvo. In that position, Mr.

 Makowenskyj had access to and was aware of Qorvo BAW Proprietary Information, including

 but not limited to Qorvo’s product pipeline, the performance and requirements for those products,

 and Qorvo’s interactions with customers relating to quality issues of BAW filters. The BAW

 Proprietary Information known to Mr. Makowenskyj is not publicly available and is highly

 valuable. On information and belief, Akoustis was in specific need of the Qorvo BAW Proprietary

 Information known to Mr. Makowenskyj, and therefore actively recruited Mr. Makowenskyj and

 placed him in the position of Staff Quality Engineer with the expectation that Mr. Makowenskyj



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 would use Qorvo BAW Proprietary Information, including information concerning Qorvo’s

 product pipeline, the performance and requirements for those products, and Qorvo’s customers,

 for the benefit of Akoustis.

        74.     The former Qorvo employees identified in the preceding paragraphs are only recent

 examples of Akoustis’ efforts to raid Qorvo employees to obtain confidential information that

 would allow Akoustis to short-cut its entry into the BAW filter market. In addition to the former

 Qorvo employees listed above, Akoustis has also hired at least the following employees away from

 Qorvo: Tony Espinoza, Ali-Imran Bawangaonwala, Todd Bender, Shawn Gibb, David Hodge,

 Rohan Houlden, Joonbum Kwon, John Myrick, and Ya Shen. On information and belief, each of

 these former Qorvo employees had access to Qorvo BAW Proprietary Information that would

 benefit Akoustis.

        75.     After Rohan Houlden left Qorvo to join Akoustis, and in breach of his obligations

 to Qorvo, he distributed Qorvo confidential information and documents within Akoustis, including

 but not limited to documents relating to the assembly, packaging, inspection, branding, marketing

 and sales of Qorvo’s BAW filters, documents containing intelligence reports prepared by Qorvo

 that include information regarding Qorvo’s competitive position with its customers, feedback from

 Qorvo’s customers, and market intelligence and strategy, and as well as documents containing

 Qorvo financial information, including salary information for substantially all of Qorvo’s

 engineering roles. By way of non-limiting example, Mr. Houlden stole and distributed within

 Akoustis some of Qorvo’s confidential-marked test plan and product requirements documents for

 designing, developing, testing, and characterizing Qorvo’s products, including but not limited to

 its BAW Filters. In addition, Mr. Houlden stole and distributed within Akoustis and to Akoustis’

 third-party recruiters a confidential-marked Qorvo document containing comprehensive



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 compensation and job structure information for all of Qorvo’s engineering and sales jobs in various

 important markets, including the United States. Upon information and belief, Mr. Houlden

 obtained such information and documents, among others, while employed by Qorvo and/or via

 unauthorized channels after leaving Qorvo to join Akoustis. Upon information and belief, on

 multiple occasions, Mr. Houlden solicited Qorvo confidential information and documents from

 individuals with access to such information in violation of confidentiality obligations and then

 distributed such information and documents within Akoustis. At least in part, Mr. Houlden also

 had access to the foregoing Qorvo confidential information via his prior employment with Qorvo.

 Upon information and belief, Akoustis then used the confidential Qorvo documents in connection

 with developing BAW filters that compete with Qorvo’s products. As the Chief Product Officer at

 Akoustis, Mr. Houlden was one of approximately ten members of Akoustis’ “management team.”

        76.     Akoustis’ Executive Vice President of Business Development and Corporate

 Officer, Dave Aichele, also distributed Qorvo confidential-marked documents on multiple

 occasions to others at Akoustis, including to Akoustis’ CEO Jeffrey Shealy. Such confidential-

 marked documents relate to, for example, Qorvo’s product roadmaps, BAW filter design and

 simulations, and confidential intelligence reports prepared by Qorvo that include sensitive

 information regarding Qorvo’s competitive position with its customers, feedback from Qorvo’s

 customers, and market intelligence and strategy. Mr. Aichele disseminated this information within

 Akoustis without Qorvo’s permission or authorization. As former Qorvo employees, all of these

 Akoustis executives and officers were privy to the sensitivity and value of the trade secret

 information in these confidential Qorvo documents, and knew or should have known that Akoustis

 was not authorized to acquire, access, disclose, disseminate, or otherwise use the same and that

 doing so would harm Qorvo’s competitive position.



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        77.     Akoustis has also made public statements that indicate it has obtained Qorvo BAW

 Proprietary Information, including confidential information about Qorvo’s product pipeline and

 development activities. For example, in a December 2021 issue of Wireless Watch, Akoustis’ Vice

 President of Corporate Development stated that Akoustis WiFi 6E products will outperform future

 Qorvo WiFi 6E products: “Sepenzis claimed that Qorvo’s BAW filter can only operate with a low

 temperature co-fired ceramic (LTCC) filter placed on top. He described the LTTC component was

 ‘low performance,’ noting that while it can cover the 5GHz and 6GHz bands, it cannot separate

 them so that they can be used simultaneously, which renders the addition of an extra band

 somewhat useless.” Mr. Sepenzis did not provide any basis for his statement and Qorvo does not

 have a WiFi 6E 6GHz product on the market. As such, Mr. Sepenzis’s statement about potential

 future Qorvo products is, on information and belief, based on Qorvo BAW Proprietary Information

 concerning Qorvo’s development pipeline and prototyping process.

        78.     In addition to the foregoing, in many cases Akoustis has misappropriated highly

 valuable trade secrets contained within sensitive Qorvo documents that are very clearly marked as

 Qorvo confidential and proprietary information. Upon information and belief, it obtained these

 documents through Ex-Qorvo employees it recruited. A sample of such Qorvo trade secrets, the

 documents they are reflected in, and the blatant misappropriations of the same at Akoustis are

 detailed below.

                          Trade Secrets 1-18 (Exhibits C-1, C-2, C-3)

        79.     Through years of research and development, and at great expense, Qorvo developed

 trade secrets related to the manufacture and production of semiconductor devices, including the

 inspection of products such as wafers used for BAW filters, and procedures for inspection and

 rejection analysis of the same to reduce production delays and minimize waste. These trade secrets



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 existed in written form at least as early as January 20, 2020, including as reflected in a confidential-

 marked Qorvo document attached hereto as Exhibit C-1 and bearing the bates label

 QORVO_00035002-069.

         80.        Qorvo trade secrets contained in Exhibit C-1 include, but are not limited to: (a) the

 overall process and sequence for inspecting wafers and handling wafers with

                                                       (“Trade Secret 1”), see, e.g., Exhibit C-1,

 QORVO_00035007-013 at Sections 7.1.4-7.1.6; (b) optimal steps to take in

                                                                                     at various levels of

 inspection before shipment (“Trade Secret 2”), see, e.g., id.; (c) how certain inspection criteria can

 be satisfied for                                                   (“Trade Secret 3”), see, e.g., Exhibit

 C -1, QORVO_00035007 at Section 7.1.2(1); (d)

                    of inspection criteria failures (“Trade Secret 4”), see, e.g., Exhibit C-1,

 QORVO_00035007 at Section 7.1.3; (e) the conditions under which a wafer should be

                              (“Trade Secret 5”), see, e.g., Exhibit C-1, QORVO_00035007-011 at

 Section 7.1.4; (f) additional testing that may be required upon discovery of

 (“Trade Secret 6”), see, e.g., id.; (g) conditions to satisfy before a defective wafer can be

                       (“Trade Secret 7”), see, e.g., Exhibit C-1, QORVO_00035007-012 at Section

 7.1.4-7.1.5; (h) which defects should be considered

                                                                            (“Trade Secret 8”); see, e.g.,

 id.; (i) procedures for handling specific types of failures or defects (“Trade Secret 9”), see, e.g.,

 Exhibit C-1, QORVO_00035012-013 at Section 7.1.6; (h) optimal operating conditions for testing

 equipment (“Trade Secret 10”), see, e.g., Exhibit C-1, QORVO_00035007-014 at Section 7.1; (i)

                                  conditions, defects, and characteristics to consider when performing



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 wafer inspections (“Trade Secret 11”), see, e.g., Exhibit C-1, QORVO_00035014-019 at Sections

 7.2.1-7.2.2; (j)                    conditions, defects, and characteristics to consider when

 performing wafer inspections (“Trade Secret 12”), see, e.g., Exhibit C-1, QORVO_00035019-020

 at Section 7.2.3; (k)                  conditions, defects, and characteristics to consider when

 performing wafer inspections (“Trade Secret 13”), see, e.g., Exhibit C-1, QORVO_00035020-21

 at Section 7.2.4; (l)                   conditions, defects, and characteristics to consider when

 performing wafer inspections (“Trade Secret 14”), see, e.g., Exhibit C-1, QORVO_00035021-23

 at Section 7.2.5; (m)                conditions, defects, and characteristics to consider when

 performing wafer inspections (“Trade Secret 15”), see, e.g., Exhibit C-1, QORVO_00035023 at

 Sections 7.2.6; (n)               rejection details (“Trade Secret 16”), see, e.g., Exhibit C-1,

 QORVO_00035023 at Sections 7.2.7, (o) images of real world inspection observations illustrating

 how to                                                (“Trade Secret 17”), see, e.g., Exhibit C-1,

 QORVO_00035030-059; and (p) specific post-inspection documentation to maintain (“Trade

 Secret 18”) see, e.g., Exhibit C-1, QORVO_00035024-027.

          81.    Qorvo has taken and continues to take commercially reasonable steps to protect

 Trade Secrets 1-18. As set forth in paragraphs 1 through 29, Qorvo protects its trade secrets at

 least in part by maintaining the confidentiality of documents containing such information.

          82.    As a result none of Trade Secrets 1-18 were or are generally known or readily

 ascertainable, nor can they be obtained through the public domain. Nor could Trade Secrets 1-18

 be determined through reverse engineering. Trade Secrets 1-18 derive independent economic

 value from not being generally known to, and not being readily ascertainable through proper means

 by, entities who can obtain economic value from the disclosure or use of the information. Trade

 Secrets 1-18 create competitive value for Qorvo by enabling its manufacturing team to efficiently



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 and accurately inspect its products and determine whether such products have been manufactured

 to an acceptable standard. This information, in turn, informs Qorvo’s engineers in making

 modifications and improvements to the manufacturing process to avoid the issues leading to

 unacceptable products. This enables Qorvo to, among other things, create more reliable and more

 robust products that can perform with greater resilience when deployed in real world

 environments, and gives Qorvo a competitive edge in the industry. In short, Trade Secrets 1-18

 enable Qorvo to create products, including BAW filters, of a high level of quality that drives its

 business. Moreover, Trade Secrets 1-18 also create competitive value for Qorvo



     thereby avoiding waste and saving resources to use elsewhere in the business. Trade Secrets

 1-18 took Qorvo several years to develop, and cost Qorvo millions of dollars to create. By

 misappropriating Trade Secrets 1-18, Akoustis obtained an unfair advantage, including but not

 limited to obtaining a head start in its ability to produce and offer semiconductor products that

 realize the same efficiencies and cost savings, and to avoid failures resulting from missed quality

 considerations. Moreover, Akoustis avoided the great costs and expenses of developing its own

 inspection procedures and criteria through trial and error.

        83.     Akoustis misappropriated Trade Secrets 1-18 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secrets 1-18 were acquired by improper means, including through at least one Ex-Qorvo employee

 who improperly disclosed Trade Secrets 1-18 with Akoustis personnel. At least because these Ex-

 Qorvo employees had access to Qorvo documents and trade secrets during their employment with

 Qorvo, such Ex-Qorvo employees had a specific opportunity to acquire the same for disclosure or



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 use without the express or implied consent or authority of Qorvo. Furthermore, at least because

 Akoustis recruited and hired these employees (those who had accessed and taken such Qorvo

 documents), Akoustis, as their new employer, had a specific opportunity to improperly obtain and

 use the documents, and the trade secrets within them, without the express or implied consent or

 authority of Qorvo.

        84.




        85.




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        86.     Upon information and belief, in addition to acquiring, accessing, and disclosing

 Qorvo’s trade secret information, Akoustis knowingly used and continues to use Qorvo’s trade

 secret information to advance its business.

                          Trade Secrets 19-24 (Exhibits D-1, D-2, D-3)

        87.     Through years of research and development, and at great expense, Qorvo developed

 trade secrets related to BAW filter testing. These trade secrets existed in written form at least as

 early as September 25, 2015, including as reflected in a confidential-marked Qorvo document

 attached hereto as Exhibit D-1 and bearing the bates label QORVO_00035070-105.

        88.     Qorvo trade secrets contained in Exhibit D-1 include, but are not limited to: (a)

 architectural details of a system that was devised by Qorvo

                                      ( “Trade Secret 19”), see Exhibit D-1 at QORVO_00035084;

 (b) instructions regarding how to implement and use the aforementioned system (“Trade Secret



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 20”), see Exhibit D-1 at QORVO_00035084, 086; (c) layout and set up details of RF filter power

 testing,                                                                   ( “Trade Secret 21”), see

 Exhibit D-1 at QORVO_00035084-085, 079, 093; (d) instructions concerning

                                                  such RF testing

                                                        (“Trade Secret 22”), see Exhibit D-1 at

 QORVO_00035081, 087-088, 094; (e)                      correlations (“Trade Secret 23”), see Exhibit

 D-1 at QORVO_00035084; and (f) RF filter data, test results, and findings resulting therefrom

 (“Trade Secret 24”), see Exhibit D-1 at QORVO_00035098-105.

            89.   Qorvo has taken and continues to take commercially reasonable steps to protect

 Trade Secrets 19-24. As set forth in paragraphs 1 through 29, Qorvo protects its trade secrets at

 least in part by maintaining the confidentiality of documents containing such information.

            90.   As a result, none of Trade Secrets 19-24 were or are generally known or readily

 ascertainable, nor can they be obtained through the public domain. Nor could Trade Secrets 19-24

 be determined through reverse engineering. Trade Secrets 19-24 derive independent economic

 value from not being generally known to, and not being readily ascertainable through proper means

 by, entities who can obtain economic value from the disclosure or use of the information. Trade

 Secrets 19-24 create competitive value for Qorvo by



                                                                                                 This

 information, in turn, informs Qorvo’s design engineers in improve their processes, identify new

 rejection/acceptance criteria, and to track and take preventative steps to avoid the issues resulting

 in a particular defect. This enables Qorvo to create more reliable and more robust BAW filters that

 can perform with greater resilience when deployed in real world environments, and giving Qorvo



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 a competitive edge in the industry. In short, Trade Secrets 19-24 enable Qorvo to create BAW

 filters of a high level of quality that drives its business. Trade Secrets 19-24 took Qorvo several

 years, and cost Qorvo millions of dollars to create. By misappropriating Trade Secrets 19-24,

 Akoustis obtained an unfair advantage, including but not limited to obtaining a head start in

 producing and offering competing BAW filters accounting for the same quality considerations.

 Moreover, Akoustis avoided the great costs and expenses of developing its own testing methods

 and criteria through trial and error.

        91.     Akoustis misappropriated Trade Secrets 19-24 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secrets 19-24 were acquired by improper means, including through former Qorvo employees who

 improperly disclosed Trade Secrets 19-24 withing Akoustis and to its other employees (including

 officers and other executives at Akoustis).




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        92.     Upon information and belief, in addition to acquiring, accessing, and disclosing

 Qorvo's trade secret information, Akoustis knowingly used and continues to use the information

 to advance its business.




                                 Trade Secrets 25-29 (Exhibits E-1, E-2)

        93.     Through years of research and development, and at great expense, Qorvo developed

 trade secrets related to the manufacture and production of semiconductor devices, including but

 not limited to the inspection of products such as BAW filters. These trade secrets existed in written

 form at least as early as April 26, 2017, including as reflected in a confidential-marked Qorvo

 document attached hereto as Exhibit E-1 and bearing the bates label QORVO_00034983-5001.

        94.     Qorvo trade secrets contained in Exhibit E-1 include, but are not limited to: (a)

 details regarding                                          Qorvo’s inspection procedures for its

 semiconductor devices (“Trade Secret 25”), see Exhibit E-1 at QORVO_00034984-985; (b) details

 regarding Qorvo’s inspection procedures (“Trade Secret 26”), see Exhibit E-1 at

 QORVO_00034985-87; (c)                              procedures for Qorvo’s inspection procedures

 (“Trade Secret 27”), see Exhibit E-1 at QORVO_00034985-87; (d)                       procedures for

 Qorvo’s inspection procedures (“Trade Secret 28”), see Exhibit E-1 at QORVO_00034986-88;



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 and (e) criteria for accepting or rejecting products according to Qorvo’s inspection procedure

 (“Trade Secret 29”), see Exhibit E-1 at QORVO_00034988-5000.

        95.     Qorvo has taken and continues to take commercially reasonable steps to protect

 Trade Secrets 25-29. As set forth in paragraphs 1 through 29, Qorvo protects its trade secrets at

 least in part by maintaining the confidentiality of documents containing such information.

        96.     As a result, none of Trade Secrets 25-29 were or are generally known or readily

 ascertainable, nor can they be obtained through the public domain. Nor could Trade Secrets 25-

 29 be determined through reverse engineering. Trade Secrets 25-29 derive independent economic

 value from not being generally known to, and not being readily ascertainable through proper means

 by, entities who can obtain economic value from the disclosure or use of the information. Trade

 Secrets 25-29 create competitive value for Qorvo by enabling its manufacturing team to efficiently

 and accurately inspect its products and determine whether such products have been manufactured

 to an acceptable standard. This information, in turn, informs Qorvo’s engineers in making

 modifications and improvements to the manufacturing process to avoid the issues leading to

 unacceptable products. This enables Qorvo to, among other things, create more reliable and more

 robust filters that can perform with greater resilience when deployed in real-world environments,

 and gives Qorvo a competitive edge in the industry. In short, Trade Secrets 25-29 enable Qorvo

 to create products, including BAW filters, of a high level of quality that drives its business and

 sets it apart from its competitors. Trade Secrets 25-29 took Qorvo several years, and cost Qorvo

 millions of dollars, to create. By misappropriating Trade Secrets 25-29, Akoustis obtained an

 advantage, including but not limited to obtaining a head start in producing and offering competing

 BAW filters and other products accounting for the same quality considerations. Moreover,




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 Akoustis avoided the great costs and expenses of developing its own inspection procedures and

 criteria through trial and error.

         97.     Akoustis misappropriated Trade Secrets 25-29 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secrets 25-29 were acquired by improper means, including through at least one former Qorvo

 employee who improperly disclosed Trade Secrets 25-29 to Akoustis personnel.




         98.     Upon information and belief, in addition to acquiring, accessing, and disclosing

 Qorvo’s trade secret information, Akoustis knowingly used and continues to use the information

 to advance its business.

                               Trade Secrets 30-32 (Exhibits F-1, F-2)

         99.     Through years of research and development, and at great expense, Qorvo developed

 trade secrets related to implementation requirements for                             of assembled



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 products, including BAW filters. These trade secrets existed in written form at least as early as

 February 13, 2017, including as reflected in a confidential marked Qorvo document attached hereto

 as Exhibit F-1,

                                                         Qorvo trade secrets contained in Exhibit F-1

 include, but are not limited to: (a) details relating to Qorvo’s procedure for                     ,

 including

                                   (“Trade Secret 30”), see Exhibit F-1 at QORVO_00035121; (b)

 details and instructions regarding performing Qorvo’s                                       (“Trade

 Secret 31”), see Exhibit F-1 at QORVO_00035121-123; and (c) details regarding the

                                                                             (“Trade Secret 32”), see

 Exhibit F-1 at QORVO_00035122-123.

        100.    Qorvo has taken and continues to take commercially reasonable steps to protect

 Trade Secrets 30-32. As set forth in paragraphs 1 through 29, Qorvo protects its trade secrets at

 least in part by maintaining the confidentiality of documents containing such information.

        101.    As a result, none of Trade Secrets 30-32 were or are generally known or readily

 ascertainable, nor can they be obtained through the public domain. Nor could Trade Secrets 30-32

 be determined through reverse engineering. Trade Secrets 30-32 derive independent economic

 value from not being generally known to, and not being readily ascertainable through proper means

 by, entities who can obtain economic value from the disclosure or use of the information. Trade

 Secrets 30-32 create competitive value for Qorvo by enabling assembly, manufacturing, and

 engineering teams to produce BAW filters and other products that are more reliable and more

 robust and can perform with greater resilience when deployed in real-world environments, and

 giving Qorvo a competitive edge in the industry. In short, Trade Secrets 30-32 enable Qorvo to



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 create BAW filters of a high level of quality that drives its business. Trade Secrets 30-32 took

 Qorvo several years, and cost Qorvo millions of dollars, to create. By misappropriating Trade

 Secrets 30-32, Akoustis obtained an unfair advantage, including but not limited to obtaining a head

 start in producing and offering competing BAW filters accounting for the same quality

 considerations. Moreover, Akoustis avoided the great costs and expenses of developing its own

 reflow preconditioning procedure through trial and error.

        102.    Akoustis misappropriated Trade Secrets 30-32 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secrets 30-32 were acquired by improper means, including through former Qorvo employees who

 improperly disclosed Trade Secrets 30-32 within Akoustis and to its employees.




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        103.    Upon information and belief, Mr. Dry doctored Qorvo’s confidential document in

 attempt to conceal his misappropriation and use of Qorvo confidential information. As stated

 above, Mr. Dry is a former Qorvo employee who knew or had reason to know that Exhibits F-1

 and F-2 contained Qorvo’s trade secrets. Moreover, because Exhibit F-1 was marked as Qorvo’s

 “Confidential & Proprietary Information” and was, or at least a version of it was, shared by former

 Qorvo employees having obligations of confidentiality to Qorvo, Akoustis and its employees knew

 or should have known that Exhibits F-1 and/or F-2 were derived from or through a person who

 owed a duty of non-disclosure to Qorvo.

        104.    Upon information and belief, in addition to acquiring, accessing, and disclosing

 Qorvo’s trade secret information, upon information and belief, Akoustis knowingly used and

 continues to use the information to advance its business.



                          Trade Secrets 33-36 (Exhibits G-1, G-2, G-3)

        105.    Through years of research and development, and at great expense, Qorvo developed

 trade secrets related to implementation requirements for                              of assembled

 products, including BAW filters. These trade secrets existed in written form at least as early as

 March 24, 2017, including as reflected in a confidential-marked Qorvo document attached hereto

 as Exhibit G-1,

                                                                   . Qorvo trade secrets contained

 in Exhibit G-1 include, but are not limited to: (a) details relating to Qorvo’s procedure for

                 , including

                                                               (“Trade Secret 33”); see Exhibit G-1

 at QORVO_00034926-30; (b) details concerning criteria



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 considerations. Moreover, Akoustis avoided the great costs and expenses of developing its own

 reflow preconditioning procedure through trial and error.

        108.    Akoustis misappropriated Trade Secrets 33-36 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secrets 33-36 were acquired by improper means, including through former Qorvo employees who

 improperly disclosed Trade Secrets 33-36 within Akoustis and to its employees.




        109.    Upon information and belief, Mr. Dry doctored Qorvo’s confidential document in

 attempt to conceal his misappropriation and use of Qorvo confidential information. As stated

 above, Mr. Dry is a former Qorvo employee who knew or had reason to know that Exhibits G-1

 and G-3 contained Qorvo’s trade secrets. Moreover, because Exhibit G-1 was marked as Qorvo’s



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 “Confidential & Proprietary Information” and was, or at least a version of it was, shared by former

 Qorvo employees having obligations of confidentiality to Qorvo, Akoustis and its employees knew

 or should have known that Exhibits G-1 and/or G-3 were derived from or through a person who

 owed a duty of non-disclosure to Qorvo. In addition to acquiring, accessing, and disclosing

 Qorvo’s trade secret information, upon information and belief, Akoustis knowingly used and

 continues to use the information to advance its business.



                          Trade Secrets 37-46 (Exhibits H-1, H-2, H-3)

        110.    Through years of research and development, and at great expense, Qorvo developed

 trade secrets related to its QPF4551 product,

                           . These trade secrets existed in written form at least as early as October

 5, 2017, including as reflected in a confidential-marked Qorvo document attached hereto as Exhibit

 H-1 and bearing the bates label QORVO_00059418 (“Exhibit H-1”).               Qorvo trade secrets

 contained in Exhibit H-1 include, but are not limited to: (a) product               details (“Trade

 Secret 37”), see Exhibit H-1 at Overview sheet; (b) product specifications (“Trade Secret 38”), see

 Exhibit H-1; and (c) detailed product technical information relating to the product, including

                                                 (“Trade Secret 39”), see Exhibit H-1.

        111.    Qorvo has taken and continues to take commercially reasonable steps to protect

 Trade Secrets 37-39. As set forth in paragraphs 1 through 29, Qorvo protects its trade secrets at

 least in part by maintaining the confidentiality of documents containing such information.

        112.    As a result, none of Trade Secrets 37-39 were or are generally known or readily

 ascertainable, nor can they be obtained through the public domain. Nor could Trade Secrets 37-39

 be determined through reverse engineering. Trade Secrets 37-39 derive independent economic



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 value from not being generally known to, and not being readily ascertainable through proper means

 by, entities who can obtain economic value from the disclosure or use of the information. Trade

 Secrets 37-39 create competitive value for Qorvo by enabling it design, manufacture, test, price,

 and sell its product according to acceptable standards. In short, Trade Secrets 37-39 enable Qorvo

 to create products of a high level of quality that drives its business. Trade Secrets 37-39 took

 Qorvo several years, and cost Qorvo millions of dollars, to create. By misappropriating Trade

 Secrets 37-39, Akoustis obtained an advantage, including but not limited to obtaining a head start

 in producing and offering products accounting for the same quality considerations. Moreover,

 Akoustis avoided the great costs and expenses of developing its own products.

        113.    Akoustis misappropriated Trade Secrets 37-39 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secrets 37-39 were acquired by improper means, including through at least one former Qorvo

 employee who improperly disclosed Trade Secrets 37-39 to Akoustis personnel.




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         114.    Mr. Houlden’s email attached another confidential-marked Qorvo document

 attached hereto as Exhibit H-3 and bearing the bates label AKTS_00145342 (“Exhibit H-3”).

 Qorvo invested great resources to create trade secrets reflected in this Product Review Document

 template that describes the Qorvo QPF7250 product, as shown in Exhibit H-3, to organize

 necessary information for the design, test, development, and sales of its products. Such trade

 secrets include, but are not limited to: (a) a description of how the                      Document

 is to be used, in the                  sheet (“Trade Secret 40”); (b) a description of the

 product, including its performance and how it compares to competing products,

       (“Trade Secret 41”); (c) key features and differentiators of the product, in the

 (“Trade Secret 42”); (d) a       target for the product,                          (“Trade Secret 43”);

 (e) details regarding the product’s specifications and analysis of

 (“Trade Secret 44”); (f) details regarding test specifications for the product,

       (“Trade Secret 45”); and (g) an applications schematic, block diagram and pin layout, and

 logic table for the

        (“Trade Secret 46”).

         115.    Qorvo has taken and continues to take commercially reasonable steps to protect

 Trade Secrets 40-46. As set forth in paragraphs 1 through 29, Qorvo protects its trade secrets at

 least in part by maintaining the confidentiality of documents containing such information.

         116.    As a result, none of Trade Secrets 40-46 were or are generally known or readily

 ascertainable, nor can they be obtained through the public domain. Nor could Trade Secrets 40-46



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 be determined through reverse engineering. Trade Secrets 40-46 derive independent economic

 value from not being generally known to, and not being readily ascertainable through proper means

 by, entities who can obtain economic value from the disclosure or use of the information. Trade

 Secrets 40-46 create competitive value for Qorvo by enabling it design, manufacture, test, price,

 and sell its product according to acceptable standards. In short, Trade Secrets 40-46 enable Qorvo

 to create products of a high level of quality that drives its business. Trade Secrets 40-46 took

 Qorvo several years, and cost Qorvo millions of dollars, to create. By misappropriating Trade

 Secrets 40-46, Akoustis obtained an unfair advantage, including but not limited to obtaining a head

 start in producing and offering products accounting for the same quality considerations. Moreover,

 Akoustis avoided the great costs and expenses of developing its own products.

        117.    Akoustis misappropriated Trade Secrets 40-46 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secrets 40-46 were acquired by improper means, including through former at least one former

 Qorvo employee who improperly disclosed Trade Secrets 40-46 with Akoustis personnel. At least

 because these Ex-Qorvo employees had access to Qorvo documents and trade secrets during their

 employment with Qorvo, such Ex-Qorvo employees had a specific opportunity to acquire the same

 for disclosure or use without the express or implied consent or authority of Qorvo. Furthermore,

 at least because Akoustis recruited and hired these employees (those who had accessed and taken

 such Qorvo documents), Akoustis, as their new employer, had a specific opportunity to improperly

 obtain and use the documents, and the trade secrets within them, without the express or implied

 consent or authority of Qorvo.




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        118.




        119.    Upon information and belief, in addition to acquiring, accessing, and disclosing

 Qorvo’s trade secret information, Akoustis knowingly used and continues to use the information

 to advance its business.

                       Trade Secrets 47-51 (Exhibits I-1, I-2, I-3, I-4, I-5)

        120.    Through years of research and development, and at great expense, Qorvo developed

 trade secrets relating to its QPD2593 product. These trade secrets existed in written form at least

 as early as August 18, 2016, including as reflected in a confidential-marked Qorvo document

 attached hereto as Exhibit I-1 and bearing the bates label QORVO_00035126-132. Qorvo trade

 secrets contained in Exhibit I-1 include, but are not limited to: (a) assembly instructions for the

 QPD2593 product (“Trade Secret 47”), see Exhibit I-1 at QORVO_00035126-132; (b) a die

 specification and die information for the product (“Trade Secret 48”), see Exhibit I-1 at

 QORVO_00035127; (c) instructions for                                for the product (“Trade Secret

 49”), see Exhibit I-1 at QORVO_00035128; (d) a diagram showing the location of components of

 the product (“Trade Secret 50”), see Exhibit I-1 at QORVO_00035129-30; and (d) information



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 relating to the wirebonding specification for the product (“Trade Secret 51”), see Exhibit I-1 at

 QORVO_00035131.

        121.    Qorvo has taken and continues to take commercially reasonable steps to protect

 Trade Secrets 47-53. As set forth in paragraphs 1 through 29, Qorvo protects its trade secrets at

 least in part by maintaining the confidentiality of documents containing such information.

        122.    As a result, none of Trade Secrets 47-51 were or are generally known or readily

 ascertainable, nor can they be obtained through the public domain. Nor could Trade Secrets 47-51

 be determined through reverse engineering. Trade Secrets 47-51 derive independent economic

 value from not being generally known to, and not being readily ascertainable through proper means

 by, entities who can obtain economic value from the disclosure or use of the information. Trade

 Secrets 47-51 create competitive value for Qorvo by enabling it to assemble its product according

 to acceptable standards. In short, Trade Secrets 47-51 enable Qorvo to create a product of a high

 level of quality that drives its business. Trade Secrets 47-51 took Qorvo several years, and cost

 Qorvo millions of dollars, to create. By misappropriating Trade Secrets 47-51, Akoustis obtained

 an unfair advantage, including but not limited to obtaining a head start in producing and offering

 products accounting for the same quality considerations. Moreover, Akoustis avoided the great

 costs and expenses of developing its own products.

        123.    Akoustis misappropriated Trade Secrets 47-51 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secrets 47-51 were acquired by improper means, including through at least one former Qorvo

 employee who improperly disclosed Trade Secrets 47-51 with Akoustis personnel. At least

 because these Ex-Qorvo employees had access to Qorvo documents and trade secrets during their



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 employment with Qorvo, such Ex-Qorvo employees had a specific opportunity to acquire the same

 for disclosure or use without the express or implied consent or authority of Qorvo. Furthermore,

 at least because Akoustis recruited and hired these employees (those who had accessed and taken

 such Qorvo documents), Akoustis, as their new employer, had a specific opportunity to improperly

 obtain and use the documents, and the trade secrets within them, without the express or implied

 consent or authority of Qorvo.

        124.




                          Trade Secrets 52-63 (Exhibits J-1, J-2, J-3)




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            125.   Through years of research and development, and at great expense, Qorvo developed

 trade secrets relating to detailed domestic and international compensation and business structure

 intelligence which,

                                                     . This intelligence included detailed promotion

 criteria for each job title through years of training employees and human resources analyses. These

 trade secrets existed in written form at least as early as May 29, 2017, including as reflected in a

 confidential-marked Qorvo document attached hereto as Exhibit J-1 and bearing the bates label

 QORVO_00039655. Qorvo trade secrets contained in Exhibit J-1 include, but are not limited to:

 (a)                         of technical skillsets necessary for each job title (“Trade Secret 52”); see

 Exhibit J-1, “Job descriptions” sheet; (b)                                       necessary to determine

 promotion eligibility (“Trade Secret 53”), see Exhibit J-1,                                         ; (c)

 Qorvo’s target salary ranges for each job title in the United States (“Trade Secret 54”), see Exhibit

 J-1,                                                      ; (d) Qorvo’s target salary ranges for each job

 title                 (“Trade Secret 55”), see Exhibit J-1,

         ; (e) Qorvo’s target salary ranges for each job title           (“Trade Secret 56”), see Exhibit

 J-1 at “                       ” and “                        ; (f) Qorvo’s target salary ranges for each

 job title                 (“Trade Secret 57”), see Exhibit J-1 at

               sheets; (g) Qorvo’s target salary ranges for each job title                (“Trade Secret

 58”), see Exhibit J-1 at                                               ; (h) Qorvo’s target salary ranges

 for each job title                (“Trade Secret 59”), see Exhibit J-1 at

                    ; (i) Qorvo’s target salary ranges for each job title                 (“Trade Secret

 60”), see Exhibit J-1 at                                                 (j) Qorvo’s target salary ranges

 for each job title                 (“Trade Secret 61”), see Exhibit J-1 at



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                  (k) Qorvo’s target salary ranges for each job title          (“Trade Secret 62”),

 see Exhibit J-1 at                 ; and (l) Qorvo’s target salary ranges for persons hired through

                        (“Trade Secret 63”), see Exhibit J-1

          126.   Qorvo has taken and continues to take commercially reasonable steps to protect

 Trade Secrets 52-63. As set forth in paragraphs 1 through 29, Qorvo protects its trade secrets at

 least in part by maintaining the confidentiality of documents containing such information.

          127.   As a result none of Trade Secrets 52-63 were or are generally known or readily

 ascertainable, nor can they be obtained through the public domain. Nor could Trade Secrets 52-63

 be determined through reverse engineering. Trade Secrets 52-63 derive independent economic

 value from not being generally known to, and not being readily ascertainable through proper means

 by, entities who can obtain economic value from the disclosure or use of the information. Trade

 Secrets 52-63 create competitive value for Qorvo by enabling Qorvo to strike a delicate balance

 between



                                                                In short, Trade Secrets 52-63 enable

 Qorvo to hire and retain highly competent employees who are critical to its business. Trade Secrets

 52-63 took Qorvo several years, and cost Qorvo millions of dollars, to create. By misappropriating

 Trade Secrets 52-63, Akoustis obtained an unfair advantage, including but not limited to obtaining

 a head start in its ability to create an effective hiring process, internal performance evaluation

 manuals, and most importantly, effectively poach key Qorvo employees. Moreover, Akoustis

 avoided the great costs and expenses of losing employees, hiring employees without the necessary

 skillsets, and promoting ill-prepared employees, all avoidable only through many years of trial and

 error.



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        128.    Akoustis misappropriated Trade Secrets 52-63 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that 52-

 63 were acquired by improper means, including through former Qorvo employees who improperly

 disclosed Trade Secrets 52-63 within Akoustis and to its other employees.




                          Trade Secrets 64-67 (Exhibits K-1, K-2, K-3)

        129.    Through years of research and development, and at great expense, Qorvo developed

 trade secrets relating to its branding requirements and guidelines for marking its products

                                                                  . These trade secrets existed in

 written form at least as early as January 7, 2015, including as reflected in a confidential-marked

 Qorvo document attached hereto as Exhibit K-1 and bearing the bates label QORVO_00035135-



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 148 (“Exhibit K-1”). Qorvo trade secrets contained in Exhibit K-1 include, but are not limited to

 guidelines and instructions for laser and ink marking Qorvo’s products, including with respect to

 (a)

                                 for such markings (“Trade Secret 64”), see Exhibit K-1 at

 QORVO_00035135-148; (b) marking                                                       required by

 customers and/or to be used in connection with assembly (“Trade Secret 65”), see Exhibit K-1 at

 QORVO_00035135-148; (c)                                                                        to

 create a legible “Qorvo” label (“Trade Secret 66”), see Exhibit K-1 at QORVO_00035135-148;

 and (d)              row configuration and prioritization hierarchy

              (“Trade Secret 67”), see Exhibit K-1 at QORVO_00035135-148.

           130.   Qorvo has taken and continues to take commercially reasonable steps to protect

 Trade Secrets 64-67. As set forth in paragraphs 1 through 29, Qorvo protects its trade secrets at

 least in part by maintaining the confidentiality of documents containing such information.

           131.   As a result, none of Trade Secrets 64-67 were or are generally known or readily

 ascertainable, nor can they be obtained through the public domain. Nor could Trade Secrets 64-67

 be determined through reverse engineering. Trade Secrets 64-67 derive independent economic

 value from not being generally known to, and not being readily ascertainable through proper means

 by, entities who can obtain economic value from the disclosure or use of the information. Trade

 Secrets 64-67 create competitive value for Qorvo




              . In short, Trade Secrets 64-67 enable Qorvo to create a product of a high level of

 quality and usability in the assembly process, that drives Qorvo’s business. Trade Secrets 64-67



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 took Qorvo several years and cost Qorvo tens of thousands of dollars to create. By

 misappropriating Trade Secrets 64-67, Akoustis obtained an advantage, including but not limited

 to obtaining a head start in producing and offering products accounting for the same quality and

 usability considerations,




        132.    Akoustis misappropriated Trade Secrets 64-67 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secrets 64-67 were acquired by improper means, including through at least one former Qorvo

 employee who improperly disclosed Trade Secrets 64-67 with Akoustis personnel. At least

 because these Ex-Qorvo employees had access to Qorvo documents and trade secrets during their

 employment with Qorvo, such Ex-Qorvo employees had a specific opportunity to acquire the same

 for disclosure or use without the express or implied consent or authority of Qorvo. Furthermore,

 at least because Akoustis recruited and hired these employees (those who had accessed and taken

 such Qorvo documents), Akoustis, as their new employer, had a specific opportunity to improperly

 obtain and use the documents, and the trade secrets within them, without the express or implied

 consent or authority of Qorvo.

        133.




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                                                                           Upon information and

 belief, in addition to acquiring, accessing, and disclosing Qorvo’s trade secret information,

 Akoustis knowingly used and continues to use the information to advance its business.

                       Trade Secrets 68-85 (Exhibits L-1, L-2, L-3, L-4)

        134.   Through years of research and development, and at great expense, Qorvo developed

 trade secrets relating to BAW filters in development, including high-performance, high power

 Bulk Acoustic Wave (BAW) band-pass filters with extremely steep skirts,



                                          . Qorvo invested significant resources into developing



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 this BAW filter to enables, among other

                                                                               . The products under

 development include filters with highly unique power handling capabilities that allow for

 implementation into high-power applications. The trade secrets concerning these filters, their

 applications, technical architecture and layout plans, and product roadmaps existed in written form

 at least as early as January 2019, including as reflected in a confidential-marked Qorvo document

 attached hereto as Exhibit L-1 and bearing the bates label QORVO_00034746-821. See also the

 confidential-marked Qorvo document attached hereto as Exhibit L-2 and bearing the bates label

 QORVO_00034822-896, and containing some overlapping content. Qorvo trade secrets contained

 in Exhibit L-1 include, but are not limited to Qorvo’s: (a) product roadmap for

                                                               (“Trade Secret 68”), see Exhibit L-1

 at QORVO_00034758; (b) technical details and architecture of                                (“Trade

 Secret 69”), see Exhibit L-1 at QORVO_00034759; (c) block diagrams and technical details of the

                      (“Trade Secret 70”), see Exhibit L-1 at QORVO_00034760; (d) block

 diagrams and technical details of the                                         (“Trade Secret 71”),

 see Exhibit L-1 at QORVO_00034761; (e) block diagrams and technical details of the

 (“Trade Secret 72”), see Exhibit L-1 at QORVO_00034762; (f) study results, targets, and technical

 data concerning                                                    (“Trade Secret 73”), see Exhibit

 L-1 at QORVO_00034764; (g)              performance and test data/results in connection with

                                                (“Trade    Secret    74”),   see   Exhibit   L-1   at

 QORVO_00034766; (h) market intelligence concerning

                             (“Trade Secret 75”), see Exhibit L-1 at QORVO_00034770-73; (i)

 architectural details, block diagrams for



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 by, entities who can obtain economic value from the disclosure or use of the information. Trade

 Secrets 68-85 create competitive value for Qorvo by enabling it to mark and brand its




            . In short, Trade Secrets 68-85 enable

                                                                              . Trade Secrets 68-85

 took Qorvo several years and cost Qorvo millions of dollars to create. By misappropriating one or

 more of Trade Secrets 68-85, Akoustis obtained an advantage, including but not limited to

 obtaining a head start in producing and offering products accounting for the same quality,

 performance and usability considerations.

        137.    Akoustis misappropriated Trade Secrets 68-85 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secrets 68-85 were acquired by improper means, including through at least one former Qorvo

 employee who improperly disclosed one or more of Trade Secrets 68-85 with Akoustis personnel.

 At least because these Ex-Qorvo employees had access to Qorvo documents and trade secrets

 during their employment with Qorvo, such Ex-Qorvo employees had a specific opportunity to

 acquire the same for disclosure or use without the express or implied consent or authority of Qorvo.

 Furthermore, at least because Akoustis recruited and hired these employees (those who had

 accessed and taken such Qorvo documents), Akoustis, as their new employer, had a specific

 opportunity to improperly obtain and use the documents, and the trade secrets within them, without

 the express or implied consent or authority of Qorvo.




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        138.




                               Trade Secret 86 (Exhibits M-1, M-2)

        139.    Through years of research and development, and at great expense, Qorvo developed

 trade secrets relating to BAW filter simulation and performance data that informed its research,

 development, and competitive analysis in the BAW filter space. Qorvo invested significant

 resources into generating such data, identifying parameters/variables to modify to best understand

 underlying products associated with this data, and interpreting this data to inform the way it refines

 its products. This data is highly sensitive. The trade secrets reflected in this data existed in the



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 form of, e.g.,                                                generated by simulation software, at

 least as early as January 7, 2019,

                                                                                          The trade

 secrets arising out of Qorvo generated          are collectively referred to herein as “Trade Secret

 86.”




        140.      Qorvo has taken and continues to take commercially reasonable steps to protect

 Trade Secret 86. As set forth in paragraphs 1 through 29, Qorvo protects its trade secrets at least

 in part by maintaining the confidentiality of documents containing such information.

        141.      As a result, Trade Secret 86 was not or is not generally known or readily

 ascertainable, nor can it be obtained through the public domain. Trade Secret 86 derives

 independent economic value from not being generally known to, and not being readily

 ascertainable through proper means by, entities who can obtain economic value from the disclosure

 or use of the information. Trade Secret 86 creates competitive value for Qorvo by enabling it to

 evaluate its products at various points throughout the development process, and under different

 conditions of unique interest, and refine their BAW filter designs to produce the most reliable and

 highest performance filters relative to their competition. In short, Trade Secret 86 enables Qorvo

 to create a product of a high level of quality and usability that drives Qorvo’s business. Trade

 Secret 86 took Qorvo considerable time and financial resource to create. By misappropriating



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 Trade Secret 86, Akoustis obtained an advantage, including but not limited to obtaining a head

 start in their competitive analysis and production of BAW filter products, among others, that

 account for the same performance and usability considerations that Qorvo learned through trial

 and error over an extensive period of time.

        142.    Akoustis misappropriated Trade Secret 86 by improperly acquiring, accessing,

 disclosing and using such trade secrets for its own benefit. Upon information and belief, Akoustis’

 misappropriation is continuing. Akoustis and its employees knew or had reason to know that Trade

 Secret 86 were acquired by improper means, including through at least one former Qorvo

 employee who improperly disclosed Trade Secret 86 with Akoustis personnel. At least because

 these Ex-Qorvo employees had access to Qorvo documents and trade secrets during their

 employment with Qorvo, such Ex-Qorvo employees had a specific opportunity to acquire the same

 for disclosure or use without the express or implied consent or authority of Qorvo. Furthermore,

 at least because Akoustis recruited and hired these employees (those who had accessed and taken

 such Qorvo documents), Akoustis, as their new employer, had a specific opportunity to improperly

 obtain and use the documents, and the trade secrets within them, without the express or implied

 consent or authority of Qorvo.

        143.




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 ascertainable through proper means by, entities who can obtain economic value from the disclosure

 or use of the information. The Additional Trade Secrets create competitive value for Qorvo by,

 inter alia,    enabling Qorvo to meet or exceed performance objective and requirements, to

 accelerate the research and development cycle, to avoid errors in future product builds, to reduce

 the amount of time between design and manufacture, to reduce waste and other expenditure of

 resources to achieve profitability targets, to attract and retain talent, to maintain the product quality

 that customers have come to associate with the “Qorvo” brand, and to isolate the reason why

 certain defects arise or certain failures are experienced with BAW filters. If misappropriated, a

 competitor could (and Akoustis did) avoid the great costs and expenses resulting from running a

 BAW filter business without these Additional Trade Secrets.

         147.    Upon information and belief, Akoustis misappropriated the Additional Trade

 Secrets by improperly acquiring, accessing, disclosing and/or using such trade secrets for its own

 benefit. Upon information and belief, Akoustis’ misappropriation is continuing. Akoustis and its

 employees knew or had reason to know that the Additional Trade Secrets were Qorvo’s

 confidential information, at least on account of the “Confidential” and/or “Proprietary” marking

 on the documents containing these Additional Trade Secrets, and/or the nature of the content

 included within these documents. Moreover, Akoustis and its employees knew or had reason to

 know that the Additional Trade Secrets were acquired by improper means, including through

 former Qorvo employees who improperly shared such Additional Trade Secrets within Akoustis,

 knowing that the information was not authorized for such use.

         148.    Accordingly, Akoustis has improperly built its 3-7 GHz BAW RF filter portfolio,

 and created related business opportunities, based on the Qorvo BAW Proprietary Information and

 confidential information, including trade secrets.



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        149.    The Akoustis employees who misappropriated Qorvo’s trade secrets knew or had

 reason to know that the trade secrets, including confidential-marked documents, were acquired by

 improper means. For example, the Akoustis employees knew that they were not authorized to take

 confidential Qorvo documents and keep those documents after their employment with Qorvo

 terminated and knew that doing so violated and/or breached one or more agreements with Qorvo,

 among other things. In addition, Akoustis employees, including but not limited to Rohan Houlden,

 in soliciting Qorvo employees to divulge Qorvo confidential documents and information, knew or

 should have known that they were inducing Qorvo employees to breach their confidentiality

 agreements with Qorvo. Further, the Akoustis employees acquired confidential-marked Qorvo

 documents by theft, including by emailing the documents to a personal email account or

 downloading the documents from Qorvo’s computer systems without authorization to use them in

 the intended manner or the manner in which they were used. Moreover, the Akoustis employees

 disclosed and/or used Qorvo’s trade secrets without Qorvo’s consent and in violation and/or breach

 of one or more agreements with Qorvo.

        150.    Akoustis and Qorvo are direct competitors in the BAW filter market. Qorvo’s trade

 secrets, including confidential-marked documents, were directly transferable for use by Akoustis.

 By way of non-limiting example, Akoustis took certain confidential-marked Qorvo documents as

 described above and re-purposed them to be used by Akoustis for essentially the same purpose for

 which they were used within Qorvo, including for the development and related activities of

 competing BAW filters.

        151.    Akoustis’ wrongful conduct alleged herein by their misappropriation of Qorvo’s

 trade secrets has and will continue unless enjoined and restrained by this Court, and will cause

 great and irreparable injury to Qorvo’s business, and it could cause Akoustis to have improper



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 advantages, positions, and rights in the marketplace to Qorvo’s detriment. Absent injunctive relief,

 Akoustis’ further disclosure and use of Qorvo’s trade secrets could irreparably harm Qorvo.

        152.    By using the Qorvo BAW Proprietary Information and other confidential

 information obtained according to the preceding paragraphs, Akoustis has gained an unfair

 advantage, enabling Akoustis to misappropriate trade secrets and to enter the BAW filter market

 more quickly than it could have without the Qorvo BAW Proprietary Information and/or other

 proprietary or confidential information of Qorvo.

        153.    On information and belief, Akoustis has used, continues to use, has inevitably used,

 or will inevitably use, the Qorvo BAW Proprietary Information obtained through Ex-Qorvo BAW

 Employees and confidential Qorvo documents (including the trade secrets reflected therein) in

 connection with Akoustis’ design, development, manufacture, and qualification of its BAW filters.

        E.      Akoustis Engages in False Advertising and False Patent Marking By Falsely
                Describing its BAW Filters as “Single-Crystal”

        154.    Akoustis’ unfair competition has also extended to making false and misleading

 statements about the characteristics of its BAW filters in an attempt to derive an unfair competitive

 advantage over competing products including Qorvo products.

        155.    Akoustis repeatedly promotes and asserts in advertisements, marketing and related

 materials including investor brochures that its BAW filters use “single-crystal” piezoelectric

 layers, which it refers to as “XBAW™ technology.”

        156.    For example, this alleged differentiation is prominent on Akoustis’ website blog,

 as   shown      below     (see    AKOUSTIS      GOES     LIVE    –    AKOUSTIS      TECHNOLOGIES,

 https://akoustis.com/akoustis-goes-live/ (last visited Sept. 14, 2021)).




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        157.    Akoustis makes similar claims in its press releases, such as the Press Release related

 to the AKF-1938 Filter (see AKOUSTIS EXPANDS COMMERCIAL PRODUCT PORTFOLIO WITH NEW

 3.8 GHZ BAW RF FILTER :: AKOUSTIS TECHNOLOGIES, INC. (AKTS), https://ir.akoustis.com/news-

 events/press-releases/detail/90/akoustis-expands-commercial-product-portfolio-with-new-3-8

 (last visited Sept. 14, 2021)), as shown below.




        158.    Further, in product datasheets for each of the twelve BAW filters identified above

 that are currently offered for sale on its website (see ALL PRODUCTS – AKOUSTIS TECHNOLOGIES,

 https://akoustis.com/products/filters/applications/all-products/ (last visited Sept. 14, 2021)),

 Akoustis states that the filters utilize “Akoustis’ patented, XBAW technology which provides

 leading RF filter performance” and that U.S. Patent No. 10,256,786 (the “’786 Patent”) covers that

 BAW filter.

        159.    U.S. Patent No. 10,256,786 is titled “Communication Filter Using Single Crystal

 Acoustic Resonator Devices.” The independent claims of U.S. Patent No. 10,256,786 define




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 piezoelectric layers, and the disclosure of U.S. Patent No. 10,256,786 and Akoustis’ statements

 make clear that these recited piezoelectric layers are single-crystal.

        160.    Akoustis relies on its descriptions of its filters as “single-crystal” and the related

 marking of those filters with U.S. Patent No. 10,256,786 to attract customers and prospective

 customers in conjunction with its claims that single-crystal piezoelectric materials drive superior

 performance as compared to polycrystalline technology, such as is used in competitor’s BAW

 filters, including by Qorvo. However, Akoustis’ BAW filter products are not “single crystal.”

 They are polycrystalline.

        F.      Akoustis Engages In Unfair Competition By Promoting Its Infringing,
                Misappropriated, and Falsely Advertised Products to Qorvo Customers

        161.    On information and belief, Akoustis has competed with Qorvo and has attempted

 to persuade Qorvo’s customers to replace Qorvo BAW filters with Akoustis’ BAW filters that: (i)

 infringe the Patents-in-Suit; (ii) were developed and manufactured with the Qorvo BAW

 Proprietary Information and Qorvo’s trade secrets; and (iii) are falsely advertised as “single-

 crystal” and marked with U.S. Patent No. 10,256,786.

 V.     CLAIMS FOR RELIEF

        A.      Count I - Infringement of U.S. Patent No. 7,522,018 (the ’018 Patent)

        162.    Qorvo incorporates by reference the allegations of paragraphs 1 through 161 set

 forth above.

        163.    Akoustis infringes the ’018 Patent under 35 U.S.C. § 271(a), by making, using,

 selling, or offering for sale the 3-7 GHz BAW RF filter portfolio including, but not limited to its

 5.2 GHz RF BAW filters (i.e., AKF-1252), 5.6 GHz RF BAW filters (i.e., AKF-1256), 3.6 GHz

 CBRS bandpass BAW filters (i.e., AKF-1336), and 3.5 GHz 5G coexistence BAW filters (i.e.,

 AKF-10235) and related products (collectively the “Accused Products”), each of which utilizes


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 the inventions disclosed and claimed in the ’018 Patent. On information and belief, each of the

 Accused Products is of similar design and construction as it pertains to the ’018 Patent.

        164.    Qorvo recently acquired a sample Accused Product, conducted testing and analysis

 on it, and determined that it meets all of the limitations of one or more claims of the ’018 Patent.

 As an example, Akoustis directly infringes at least independent claim 1 of the ’018 Patent. The

 Accused Products are film bulk acoustic resonators (“FBAR”) that have a membrane structure

 FBAR with a layer structure including a piezoelectric layer and a top and a bottom electrode layer.

        165.    Like claim 1, the Accused Products are configured with thicknesses of the two

 electrode layers being unequal, characterized in that the top electrode layer is thinner than the

 bottom electrode layer. By way of example, the Akoustis AKF-10235 BAW Filter has a top

 electrode layer that is averages about110 nm thick and a bottom electrode layer that averages about

 129 nm thick. On information and belief, the other Accused Products similarly have piezoelectric

 layers and top electrode layers that are thinner than their bottom electrode layers.

        166.    To the extent required by claim 1, the Accused Products have increased filter

 bandwidth performance. By way of example, increased filter bandwidth performance of the

 Akoustis AKF-10235 BAW Filter is shown in the below graph taken from the AKF-10235 Data

 Sheet. On information and belief, the other Accused Products similarly have increased filter

 bandwidth performance.




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        167.    Thus, Akoustis has infringed, and continues to infringe, at least claim 1 of the ’018

 Patent in violation of 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, by making,

 using, selling, and/or offering for sale in the United States, and/or importing into the United States,

 the Accused Products that are covered by one or more claims of the ’018 Patent.

        168.    On information and belief, Akoustis has been and is inducing infringement of

 the’018 Patent in violation of 35 U.S.C. § 271(b) at least by actively and knowingly inducing its

 customers to, literally or under the doctrine of equivalents, make, use, sell, and/or offer for sale in

 the United States, and/or import into the United States, products incorporating the Accused

 Products which utilize the inventions disclosed and claimed in the ’018 Patent. Specifically,

 Akoustis induces infringement of the ’018 Patent by publishing instructions on its website

 instructing third parties on how to use the Accused Products.            These instructions include

 recommendations for customers of the Accused Products on how to solder and package the

 Accused Products as part of customer systems. Akoustis’ intent is further demonstrated by PCB



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 diagrams published on its website that instruct customers on PCB metal, solder mask, and stencil

 pattern layouts for implementing the Accused Products in infringing systems.

        169.    As of the introduction of the Accused Products, Akoustis has had knowledge of the

 ’018 Patent and Akoustis’ infringement thereof, because the Ex-Qorvo BAW Employees,

 including former executives of Qorvo who are now executives of Akoustis, knew of the ’018 patent

 and brought that knowledge to Akoustis. Akoustis also has known and knows that its customers’

 use, sale, and offering for sale of the Accused Products constitutes infringement of at least claim

 1 of the ’018 Patent for the same reasons set forth above.

        170.    Akoustis’ infringement of the ’018 patent is willful, deliberate, and intentional, and

 Akoustis is acting in reckless disregard of Qorvo’s patent rights.

        171.    Because of Akoustis’ infringement of the ’018 patent, Qorvo has suffered and will

 continue to suffer irreparable harm and injury, including monetary damages in an amount to be

 determined at trial.

        172.    Unless enjoined, Akoustis, and/or others acting on behalf of Akoustis, will continue

 their infringing acts, thereby causing additional irreparable injury to Qorvo for which there is no

 adequate remedy at law.

        173.    Akoustis’ actions render this an exceptional case and entitle Qorvo to attorneys’

 fees and costs under 35 U.S.C. § 285.

        B.      Count II - Infringement of U.S. Patent No. 9,735,755 (the ’755 Patent)

        174.    Qorvo incorporates by reference the allegations of paragraphs 1 through 173 set

 forth above.

        175.    Akoustis infringes the ’755 Patent under 35 U.S.C. § 271(a) by making, using,

 selling, or offering for sale the 3-7 GHz BAW RF filter portfolio including, but not limited to, its

 5.2 GHz RF BAW filters (i.e., AKF-1252), 5.6 GHz RF BAW filters (i.e., AKF-1256), 3.6 GHz

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 CBRS bandpass BAW filters (i.e., AKF-1336), and 3.5 GHz 5G coexistence BAW filters (i.e.,

 AKF-10235), along with related products (collectively, and as defined above, the “Accused

 Products”), which utilize the inventions disclosed and claimed in the ’755 Patent. On information

 and belief, the Accused Products are of similar design and construction as it pertains to the

 ’755 Patent.

        176.      Qorvo recently acquired a sample Accused Product, conducted testing and analysis

 on it, and determined that it meets all of the limitations of one or more claims of the ’755 Patent.

 As an example, Akoustis directly infringes at least independent claim 9 of the ’755 Patent. The

 Accused Products are BAW resonators comprising a piezoelectric layer, a first electrode on a first

 surface of the piezoelectric layer, a second electrode on a second surface of the piezoelectric layer

 opposite the first electrode.

        177.      To render a surface of the second electrode inert, the Accused Products include a

 passivation layer. The passivation layer is on the surface of the second electrode opposite the

 piezoelectric layer within an active region of the BAW resonators. The passivation layer has a

 thickness (TPA) within the active region of the BAW resonators.

        178.      The Accused Products further include one or more material layers on the second

 surface of the piezoelectric layer adjacent to the second electrode in an outer region of the BAW

 resonators. The outer region of the BAW resonators is a region outside of the active region of the

 BAW resonators. The one or more material layers have a thickness that is n times the thickness

 (TPA) of the passivation layer within the active region, wherein: n is a value other than 1. For

 example, the Akoustis AKF-10235 BAW Filter has one or more material layers outside an active

 region with a thickness of about 1.5 to 1.6 times a thickness of the passivation layer within the

 active region.



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        179.      In the Accused Products, “n” is such that the outer region of the BAW resonators

 and the active region of the BAW resonators are acoustically matched in such a manner that the

 energy of the one or more acoustic wavelengths leaked into the outer region is not excited in the

 active region.

        180.      Thus, Akoustis has infringed, and continues to infringe, at least claim 9 of the ’755

 Patent in violation of 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, by making,

 using, selling, and/or offering for sale in the United States, and/or importing into the United States,

 the Accused Products that are covered by one or more claims of the ‘755 Patent.

        181.      On information and belief, Akoustis has been and is inducing infringement of the

 ’755 Patent in violation of 35 U.S.C. § 271(b) at least by actively and knowingly inducing its

 customers to, literally or under the doctrine of equivalents, make, use, sell, and/or offer for sale in

 the United States, and/or import into the United States, products incorporating the Accused

 Products which utilize the inventions disclosed and claimed in the ’755 Patent. Specifically,

 Akoustis induces infringement of the ’755 Patent by publishing instructions on its website

 instructing third parties on how to use the Accused Products.            These instructions include

 recommendations for customers of the Accused Products on how to solder and package the

 Accused Products as part of customer systems. Akoustis’ intent is further demonstrated by PCB

 diagrams published on its website that instruct customers on PCB metal, solder mask, and stencil

 pattern layouts for implementing the Accused Products in infringing systems.

        182.      As of the introduction of the Accused Products, Akoustis has had knowledge of

 the ’755 Patent and Akoustis’ infringement thereof, because the Ex-Qorvo BAW Employees,

 including former executives of Qorvo who are now executives of Akoustis, knew of the ’755 patent

 and brought that knowledge to Akoustis. Akoustis also has known and knows that its customers’



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 use, sale, and offering for sale of the Accused Products constitutes infringement of at least claim

 9 of the ’755 Patent for the same reasons set forth above.

        183.    Akoustis’ infringement of the ’755 patent is willful, deliberate, and intentional, and

 Akoustis is acting in reckless disregard of Qorvo’s patent rights.

        184.    Because of Akoustis’ infringement of the ’755 patent, Qorvo has suffered and will

 continue to suffer irreparable harm and injury, including monetary damages in an amount to be

 determined at trial.

        185.    Unless enjoined, Akoustis, and/or others acting on behalf of Akoustis, will continue

 their infringing acts, thereby causing additional irreparable injury to Qorvo for which there is no

 adequate remedy at law.

        186.    Akoustis’ actions render this an exceptional case and entitle Qorvo to attorneys’

 fees and costs under 35 U.S.C. § 285.

        C.      Count III - Lanham Act False Advertising Under 15 U.S.C. § 1125(a)

        187.    Qorvo incorporates by reference the allegations of paragraphs 1 through 186 set

 forth above.

        188.    Akoustis describes its BAW filters as being “single crystal” construction, which

 misrepresents the nature, characteristics, and/or qualities of Akoustis’ BAW filters and constitutes

 false advertising in violation of 15 U.S.C. § 1125(a).

        189.    Akoustis’ description of its BAW filters as being “single crystal” is made in

 commercial advertising or promotion, including via Akoustis’ website, presentations, and press

 releases. Akoustis also describes its BAW filters as being “single crystal” in its SEC filings.

        190.    Akoustis falsely or misleadingly represents to the consuming public, customers,

 potential customers (collectively, the “target customers”) and investors that Akoustis’ BAW filters



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 are of a “single crystal” construction to support a claim of superior performance over the

 competition. However, Akoustis’ BAW filters are, in fact, polycrystalline.

             191.   Akoustis’ false or misleading representations that its BAW filters are “single

 crystal” actually deceives a substantial portion of the target customers, or has the tendency to

 deceive the target customers.

             192.   On information and belief, Akoustis used its false or misleading representations of

 its BAW filters as “single-crystal” to promote and advertise that it has better technology than

 Qorvo, or that its BAW filters have better performance than Qorvo’s filters. Akoustis’ false or

 misleading representations that its BAW filters are “single crystal” are material because they are

 likely to influence the purchasing decisions of the target customers.

             193.   Akoustis’ false or misleading representations that its BAW filters are “single

 crystal” involves BAW filters that are advertised, promoted, sold, and distributed in interstate

 commerce, including via Akoustis’ website.

             194.   Akoustis’ false or misleading representations that its BAW filters are “single

 crystal” have competitively injured, and are likely to further competitively injure, Qorvo by

 diverting sales from target customers and through loss of their goodwill.

             195.   Akoustis knows that its representations of its BAW filters as being of a “single

 crystal” construction are false or misleading.

             196.   Akoustis’ false or misleading representations of fact are done with bad faith and

 malice or reckless indifference to Qorvo’s and consumers’ interests.

             197.   Based upon the above wrongful acts of Akoustis, Qorvo has incurred monetary

 damages through the diversion of sales and loss of goodwill in an amount to be fully demonstrated

 at trial.



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        198.    Akoustis’ intentional and bad faith or misleading representations of fact will

 continue until enjoined by this Court.

        199.    Qorvo is entitled to preliminary and permanent injunctive to prevent Defendant’s

 continued false advertising.

        D.      Count IV – False Patent Marking Under 35 U.S.C. § 292

        200.    Qorvo incorporates by reference the allegations of paragraphs 1 through 199 set

 forth above.

        201.    Akoustis has marked each of the Accused Products with U.S. Patent No. 10,256,786

 on datasheets available on its website (see ALL PRODUCTS – AKOUSTIS TECHNOLOGIES,

 https://akoustis.com/products/filters/applications/all-products/ (last visited Sept. 14, 2021)).

        202.    The independent claims of U.S. Patent No. 10,256,786 recite piezoelectric layers.

 Based on the disclosure of U.S. Patent No. 10,256,786 and Akoustis’ statements, the recited

 piezoelectric layers are single-crystal.

        203.    However, Akoustis’ BAW filter products are not “single-crystal.”             They are

 polycrystalline. On information and belief, Akoustis regularly tests and analyzes its BAW filter

 products and knew or should have known that Akoustis’ BAW filter products are polycrystalline.

 Moreover, Akoustis knew or should have known that U.S. Patent No. 10,256,786 covered only

 single-crystal piezoelectric layers.

        204.    Akoustis falsely marked the Accused Products with purpose or intent to deceive the

 public that the Accused Products were covered by U.S. Patent No. 10,256,786 in violation of 35

 U.S.C. § 292. Akoustis engaged in the false marketing of its products to support a claim that the

 products are innovative and result in superior performance. Akoustis’ false marking is material

 because it is likely to influence the purchasing decisions of the target customers. Akoustis’ false



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 marking has competitively injured, and is likely to further competitively injure, Qorvo by diverting

 sales from target customers and through loss of their goodwill.

        205.    Qorvo is entitled to compensatory damages in an amount to be determined at trial.

        E.      Count V - Unfair and Deceptive Trade Practices Prohibited by NC. Gen.
        Stat. § 75-1

        206.    Qorvo incorporates by reference the allegations of paragraphs 1 through 205 set

 forth above.

        207.    By virtue of the aforesaid acts, Akoustis has engaged in unfair or deceptive acts or

 practices and in unfair methods of competition affecting commerce in the state of North Carolina.

 Such acts violate the North Carolina Unfair and Deceptive Trade Practices Act, NC. Gen. Stat.

 § 75-1.1.

        208.    Qorvo owns and possesses the Qorvo BAW Proprietary Information and employed

 the Ex-Qorvo BAW Employees.

        209.    Qorvo’s business is dependent on its ability to attract and keep key technical

 personnel and management.        Qorvo has invested substantial time, effort, and expense in

 developing its employees’ knowledge and experience in the areas crucial to Qorvo’s BAW filter

 technologies, including in RF engineering, integrated circuit and filter design, and technical

 marketing and support.

        210.    Akoustis has engaged in conscious, methodical, and systematic recruitment and

 solicitation of Qorvo’s employees in all major areas. On information and belief, a large number

 of Akoustis’ current employees are Ex-Qorvo employees. As detailed above, these include many

 employees with significant technical and business experience crucial to BAW filter technology,

 such as the Ex-Qorvo BAW Employees.




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        211.    Akoustis is seeking to damage Qorvo’s business through the recruiting and hiring

 away from Qorvo the Ex-Qorvo BAW Employees. This poaching is intended to damage Qorvo

 by attrition, rather than by fair competition in the marketplace.

        212.    Moreover, as described above, the Ex-Qorvo BAW Employees have significant

 knowledge of the Qorvo BAW Proprietary Information, and were placed by Akoustis in positions

 with substantial responsibility that overlapped with those employees’ previous roles at Qorvo such

 that disclosure of the Qorvo BAW Proprietary Information was inevitable. On information and

 belief, Akoustis targeted the Ex-Qorvo BAW Employees, including Robert Dry, David Breton,

 Guillermo Moreno, William Schmid, Kindra Lane, Wendy Wright, Paul Makowenskyj, Tony

 Espinoza, Ali-Imran Bawangaonwala, Todd Bender, Shawn Gibb, David Hodge, Rohan Houlden,

 Joonbum Kwon, John Myrick, and Ya Shen to obtain Qorvo BAW Proprietary Information from

 those employees.     On information and belief, the goal of the systematic raiding of Qorvo

 employees was to use this Qorvo BAW Proprietary information as a short-cut for Akoustis to enter

 the market for BAW filters.

        213.    The Qorvo BAW Proprietary Information derives independent economic value,

 actual or potential, from not being known generally to, and not being readily ascertainable through

 proper means by, another person who can obtain economic value from the disclosure or use of the

 information.

        214.    Qorvo expended substantial effort, time, and capital in developing, maintaining,

 and possessing the Qorvo BAW Proprietary Information that it incorporated into its highly

 successful BAW filter products.

        215.    During their employment by Qorvo, the Ex-Qorvo BAW Employees hired by

 Akoustis had access to the Qorvo BAW Proprietary Information.



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        216.    Following the termination of their employment, the Ex-Qorvo BAW Employees

 were not authorized to disclose, share, use, or possess the Qorvo BAW Proprietary Information.

        217.    Akoustis was aware that the Ex-Qorvo BAW Employees it recruited and hired had

 entered into binding agreements with Qorvo that prohibited the employees from taking, disclosing,

 using, sharing, or possessing the Qorvo BAW Proprietary Information.

        218.    On information and belief, Akoustis requested the Ex-Qorvo BAW Employees to

 disclose, use, or share the Qorvo BAW Proprietary Information as part of Akoustis’ recruitment

 process, or otherwise expected the Ex-Qorvo BAW Employees to disclose, use, or share, the Qorvo

 BAW Proprietary Information as part of their employment at Akoustis, or implemented a hiring

 scheme that resulted in the Ex-Qorvo BAW Employees inevitably disclosing, using, or sharing,

 the Qorvo BAW Proprietary Information as part of their employment at Akoustis.

        219.    As set forth above, one example of Akoustis’ efforts to obtain Qorvo BAW

 Proprietary Information as part of the recruitment process occurred in late 2020 when an Akoustis

 engineering manager asked a Qorvo RF Product Engineer to access Qorvo’s computer systems

 during a job interview and provide screen shots of Qorvo BAW Proprietary information to

 Akoustis.

        220.    On information and belief, Ex-Qorvo BAW Employees have disclosed, shared, or

 used the Qorvo BAW Proprietary Information, at least inevitably, as part of their job

 responsibilities at Akoustis.

        221.    On information and belief, the Ex-Qorvo BAW Employees will continue to

 disclose, share, or use the Qorvo BAW Proprietary Information as part of their job responsibilities

 at Akoustis unless and until they are enjoined by this Court from doing so.




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         222.    On information and belief, the poaching of the Ex-Qorvo BAW Employees and the

 misappropriation of the Qorvo BAW Proprietary Information has resulted in Akoustis being able

 to bring its “3-7 GHz BAW RF filter portfolio,” including the Accused Products, to market in a

 timeframe that is highly unlikely, if not impossible, without these unfair practices. Akoustis’ “3-

 7 GHz BAW RF filter portfolio,” has been placed in commerce in North Carolina, and interstate

 and foreign commerce, within the past four years.

         223.    As a result of Akoustis’ wrongful conduct, Qorvo has been substantially and

 irreparably harmed in an amount not readily capable of determination and for which there is no

 adequate remedy at law. Unless restrained by this Court, Akoustis will cause further irreparable

 injury to Plaintiff.

         224.    Qorvo is entitled to preliminary and permanent injunctive relief enjoining Akoustis,

 its agents and employees, and all persons acting in concert or participation with Akoustis, from

 engaging in any further poaching of Qorvo employees and/or use of the Qorvo BAW Proprietary

 Information.

         225.    Moreover, Akoustis has engaged in unfair or deceptive acts or practices and unfair

 methods of competition affecting commerce in the state of North Carolina through Akoustis’ false

 or misleading representations to the target customers and investors that Akoustis’ BAW filters are

 of a “single crystal” construction. Akoustis’ false or misleading representations that its BAW

 filters are “single crystal” actually deceives, or has the tendency to deceive, the target customers,

 and its representations are material because they are likely to influence the purchasing decisions

 of the target customers. Akoustis’ false or misleading representations have competitively injured,

 and are likely to further competitively injure, Qorvo by diverting sales from target customers and

 through loss of their goodwill.



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        226.    On information and belief, Akoustis has made and will continue to make substantial

 profits and/or gains to which it is not in law or equity entitled.

        227.    On information and belief, Akoustis’ violations of NC. Gen. Stat. § 75-1.1 have

 directly and proximately caused and continue to cause Qorvo substantial actual damages in North

 Carolina and throughout the United States, and Qorvo is entitled to recover actual damages in an

 amount to be proven at trial.

        228.    Pursuant to NC. Gen. Stat. § 75-16 and NC. Gen. Stat. § 75-16.1 Qorvo is entitled

 to treble damages and attorney fees for Akoustis’ unfair and deceptive trade practices and unfair

 methods of competition.

        F.     Count VI – Misappropriation of Trade Secrets Under the Defense of Trade
        Secrets Act (18 U.S.C. § 1832 et seq.)

        229.    Qorvo incorporates by reference the allegations of paragraphs 1 through 228 set

 forth above.

        230.    By virtue of the aforesaid acts, which upon information and belief, are continuing,

 Akoustis has and continues to engage in trade secret misappropriation under federal law. Such

 acts violate the Defense of Trade Secrets Act (18 U.S.C. § 1832 et seq.).

        231.    As set forth in paragraphs 61 through 153, Qorvo has developed an extensive trade

 secret portfolio. Qorvo’s trade secrets relate to, among other things, documentation and know-how

 for designing, developing, modeling, simulating, testing, qualifying, manufacturing, marketing,

 selling, and supporting its BAW filters and other products, as well as Qorvo’s compensation and

 job structure for its engineers and other employees, including those who work on Qorvo’s BAW

 filters and other products. Use of Qorvo’s trade secrets allowed Akoustis to implement technology

 that would otherwise take months if not years to develop independently and to avoid dead-ends.




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 In the end, Akoustis was able to get to market much faster compared to a company that did not

 have the benefit of Qorvo’s trade secrets.

         232.     As set forth in paragraphs 1 through 29, as well as in paragraphs 61 through 153,

 Qorvo has taken and continues to take commercially reasonable steps to protect its trade secret

 information. Qorvo protects its trade secrets at least in part by maintaining the confidentiality of

 documents containing such information.

         233.     As set forth in paragraphs 1 through 29, as well as in paragraphs 61 through 153,

 Qorvo’s trade secrets derive independent actual or potential commercial value from not being

 generally known or readily ascertainable through independent development or reverse engineering

 by persons who can obtain value from the trade secrets’ disclosure. Maintaining the confidentiality

 of Qorvo’s trade secrets gives Qorvo a highly valuable advantage over competitors in the BAW

 filter market.

         234.     Qorvo’s trade secrets and their use by Akoustis implicate interstate or foreign

 commerce. For example, both Qorvo and Akoustis sell BAW filters in interstate and foreign

 commerce and the trade secrets were used by both parties to develop such filters.

         235.     As set forth in paragraphs 1 through 29, as well as in paragraphs 61 through 153,

 Akoustis improperly acquired, disclosed, used, appropriated, took, carried away, concealed,

 copied, duplicated, downloaded, replicated, transmitted, sent, uploaded, communicated, or

 conveyed the Qorvo trade secrets for the benefit of Akoustis.

         236.     As set forth in paragraphs 1 through 29, as well as in paragraphs 61 through 153,

 Akoustis’ improper misappropriations were facilitated through former Qorvo employees who

 Akoustis recruited for the purpose of obtaining such trade secrets and confidential information,

 and who—during the time period prior to their departure from Qorvo and their joining Akoustis—



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 had a specific opportunity to improperly access and take documents containing Qorvo BAW

 Proprietary Information and other Qorvo confidential information, including for disclosure or use

 at Akoustis without the express or implied consent or authority Qorvo. Furthermore, at least

 because Akoustis recruited and hired these employees (those who had accessed and taken such

 Qorvo documents), Akoustis, as their new employer, had a specific opportunity to improperly

 obtain and use the documents, and the trade secrets within them, without the express or implied

 consent or authority of Qorvo.

        237.    The use of Qorvo’s trade secrets by Akoustis was without Qorvo’s authorization.

 Qorvo did not consent to their acquisition, disclosure, or use of Qorvo’s trade secrets.

        238.    Akoustis intended to, and continues to, convert Qorvo’s trade secrets to the

 economic benefit of one other than their owner, Qorvo.

        239.    Akoustis knew and intended that Qorvo, as the owner of Qorvo’s trade secrets,

 would be injured by their actions.

        240.    As a result of Akoustis’ misappropriation of Qorvo’s trade secrets, Qorvo has

 suffered actual damages in an amount to be proven at trial.

        241.    As a result of Akoustis’ misappropriation, Akoustis has been unjustly enriched.

        242.    Qorvo further pleads entitlement to a reasonable royalty to compensate Qorvo for

 Akoustis’ misappropriation of trade secrets.

        243.    Qorvo is informed and believes, and thereon alleges, that Akoustis’

 misappropriation of Qorvo’s trade secrets was willful and malicious based on the facts alleged

 herein. Akoustis acted with a purpose and willingness to commit the acts alleged, and Akoustis’

 conduct was not reasonable under the circumstances. Qorvo is therefore entitled to exemplary

 damages and attorney fees and costs. Qorvo further seeks exemplary damages against Akoustis in



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 an amount up to two times the amount of Qorvo’s actual damages according to proof under 18

 U.S.C. § 1836.

          244.    The misappropriation of Qorvo’s trade secrets has caused and will continue to cause

 Qorvo irreparable and substantial injury and therefore cannot be fully redressed through damages

 alone.

          245.    If Akoustis were permitted to continue to use and disseminate Qorvo’s trade secrets,

 Qorvo will be irreparably harmed and the economic damages to Qorvo will be difficult to quantify.

 An injunction prohibiting Akoustis from further acquisition, disclosure, use, and possession of

 Qorvo’s trade secrets is necessary to provide Qorvo with complete relief.

          246.    On information and belief, Akoustis has made and will continue to make substantial

 profits and/or gains on account of its misappropriations, to which it is not in law or equity entitled.

          247.    On information and belief, Akoustis’ violations of 18 U.S.C. § 1832 et seq. have

 directly and proximately caused and continue to cause Qorvo substantial actual damages, and

 Qorvo is entitled to recover actual damages in an amount to be proven at trial.

          G.     Count VII – Racketeer Influenced and Corrupt Organizations Act
          (18 U.S.C. § 1961 et seq.)

          248.    Qorvo incorporates by reference the allegations of paragraphs 1 through 247 set

 forth above.

          249.    Akoustis is an enterprise because it is a Delaware corporation.

          250.    As set forth in paragraphs 61 through 153, Akoustis conspired with Rohan Houlden,

 Robert Dry, and other former Qorvo employees, before Akoustis formally hired such employees

 at a later date, to steal, copy, possess and use Qorvo’s trade secrets without authorization, violating

 the Defense of Trade Secrets Act. Akoustis’ prior and continuing conspiracy to misappropriate




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 Qorvo’s trade secrets through improper means constitutes unlawful activity pursuant to 18 U.S.C.

 § 1962(d).

        251.    As set forth in paragraphs 61 through 153, Akoustis has misappropriated Qorvo’s

 trade secrets in violation of the Defense of Trade Secrets Act. On multiple occasions, persons

 employed by Akoustis—e.g., Rohan Houlden, Robert Dry—have stolen Qorvo’s trade secrets,

 have shared Qorvo’s trade secrets, and have re-purposed Qorvo’s trade secrets for Akoustis’ use

 to gain an unfair competitive advantage in the market for BAW filters. Akoustis’ multiple and

 continuing violations of the Defense of Trade Secrets Act and misappropriation through improper

 means of Qorvo’s trade secrets constitutes pattern of racketeering activity pursuant to 18 U.S.C.

 § 1962(c).

        252.    Akoustis’ racketeering activities is ongoing because, on belief, Akoustis continues

 to use Qorvo’s trade secrets in its business including, but not limited to, documentation and know-

 how for designing, developing, modeling, simulating, testing, qualifying, manufacturing,

 marketing, selling, and supporting its BAW filters and other products, as well as Qorvo’s

 compensation and job structure for its engineers and other employees, including those who work

 on Qorvo’s BAW filters and other products.

        253.    Akoustis’ racketeering activities are related to Akoustis and the former Qorvo

 employees using misappropriated Qorvo trade secrets in interstate and foreign commerce by,

 among other things, using know-how and documentation for designing, developing, modeling,

 simulating, testing, qualifying, manufacturing, marketing, selling, and supporting Akoustis BAW

 filters and other products, as well as Qorvo’s compensation and job structure for its engineers and

 other employees.




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        254.    On information and belief, Akoustis’ violations of 18 U.S.C. § 1961 et seq. have

 directly and proximately caused and continue to cause Qorvo substantial actual damages, and

 Qorvo is entitled to recover actual damages in an amount to be proven at trial.

        255.    Pursuant to 18 U.S.C. § 1964(c), Qorvo is entitled to treble damages, costs, and

 attorney fees for Akoustis’ racketeering.

        H.    Count VIII – Misappropriation of Trade Secrets Under the North Carolina
        Trade Secrets Protection Act (N.C. Gen. Stat § 66-152 et seq.)

        256.    Qorvo incorporates by reference the allegations of paragraphs 1 through 255 set

 forth above.

        257.    By virtue of Akoustis’ acts of misappropriation, including as set forth in paragraphs

 61 through 153, which upon information and belief are continuing, Akoustis has and continues to

 engage in trade secret misappropriation under North Carolina state law. Such acts violate the North

 Carolina Trade Secrets Protection Act (N.C. Gen. Stat § 66-152 et seq.).

        258.    As set forth in paragraphs 61 through 153, Qorvo has developed an extensive trade

 secret portfolio. Qorvo’s trade secrets relate to, among other things, documentation and know-how

 for designing, developing, modeling, simulating, testing, qualifying, manufacturing, marketing,

 selling, and supporting its BAW filters and other products, as well as Qorvo’s compensation and

 job structure for its engineers and other employees, including those who work on Qorvo’s BAW

 filters and other products. Use of Qorvo’s trade secrets allowed Akoustis to implement technology

 that would otherwise take months if not years to develop independently and to avoid dead-ends.

 In the end, Akoustis was able to get to market much faster compared to a company that did not

 have the benefit of Qorvo’s trade secrets.

        259.    As set forth in paragraphs 1 through 29, as well as in paragraphs 61 through 153,

 Qorvo has taken and continues to take commercially reasonable steps to protect its trade secret


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 information. Qorvo protects its trade secrets at least in part by maintaining the confidentiality of

 documents containing such information.

         260.     As set forth in paragraphs 1 through 29, as well as in paragraphs 61 through 153,

 Qorvo’s trade secrets derive independent actual or potential commercial value from not being

 generally known or readily ascertainable through independent development or reverse engineering

 by persons who can obtain value from the trade secrets’ disclosure. Maintaining the confidentiality

 of Qorvo’s trade secrets gives Qorvo a highly valuable advantage over competitors in the BAW

 filter market.

         261.     Qorvo’s trade secrets and their use by Akoustis implicate interstate or foreign

 commerce. For example, both Qorvo and Akoustis sell BAW filters in interstate and foreign

 commerce and the trade secrets were used by both parties to develop such filters.

         262.     As set forth in paragraphs 1 through 29, as well as in paragraphs 61 through 153,

 Akoustis improperly acquired, disclosed, used, appropriated, took, carried away, concealed,

 copied, duplicated, downloaded, replicated, transmitted, sent, uploaded, communicated, or

 conveyed the Qorvo trade secrets for the benefit of Akoustis.

         263.     As set forth in paragraphs 1 through 29, as well as in paragraphs 61 through 153,

 Akoustis’ improper misappropriations were facilitated through former Qorvo employees who

 Akoustis recruited for the purpose of obtaining such trade secrets and confidential information,

 and who—during the time period prior to their departure from Qorvo and their joining Akoustis—

 had a specific opportunity to improperly access and take documents containing Qorvo BAW

 Proprietary Information and other Qorvo confidential information, including for disclosure or use

 at Akoustis without the express or implied consent or authority Qorvo. Furthermore, at least

 because Akoustis recruited and hired these employees (those who had accessed and taken such



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 Qorvo documents), Akoustis, as their new employer, had a specific opportunity to improperly

 obtain and use the documents, and the trade secrets within them, without the express or implied

 consent or authority of Qorvo.

          264.   The use of Qorvo’s trade secrets by Akoustis was without Qorvo’s authorization.

 Qorvo did not consent to their acquisition, disclosure, or use of Qorvo’s trade secrets.

          265.   Akoustis intended to, and continues to, convert Qorvo’s trade secrets to the

 economic benefit of one other than their owner, Qorvo.

          266.   Akoustis knew and intended that Qorvo, as the owner of Qorvo’s trade secrets,

 would be injured by their actions.

          267.   As a result of Akoustis’ misappropriation of Qorvo’s trade secrets, Qorvo has

 suffered actual damages in an amount to be proven at trial.

          268.   As a result of Akoustis’ misappropriation, Akoustis has been unjustly enriched.

          269.   Qorvo further pleads entitlement to a reasonable royalty to compensate Qorvo for

 Akoustis’ misappropriation of Qorvo’s trade secrets.

          270.   Qorvo is informed and believes, and thereon alleges, that Akoustis’

 misappropriation of Qorvo’s trade secrets was willful and malicious based on the facts alleged

 herein. Akoustis acted with a purpose and willingness to commit the acts alleged, and Akoustis’

 conduct was not reasonable under the circumstances. Qorvo is therefore entitled to exemplary

 damages and attorney fees and costs.

          271.   The misappropriation of Qorvo’s trade secrets has caused and will continue to cause

 Qorvo irreparable and substantial injury and therefore cannot be fully redressed through damages

 alone.




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         272.    If Akoustis were permitted to continue to use and disseminate Qorvo’s trade secrets,

 Qorvo will be irreparably harmed and the economic damages to Qorvo will be difficult to quantify.

 An injunction prohibiting Akoustis from further acquisition, disclosure, use, and possession of

 Qorvo’s trade secrets is necessary to provide Qorvo with complete relief.

         I.      Count IX – Civil Conspiracy Under North Carolina

         273.    Qorvo incorporates by reference the allegations of paragraphs 1 through 272 set

 forth above.

         274.    By virtue of Akoustis’ acts of misappropriation, including as set forth in paragraphs

 6161 through 153, Akoustis and its employees engaged in trade secret misappropriation in

 violation of the North Carolina Trade Secrets Protection Act (N.C. Gen. Stat § 66-152 et seq.).

         275.    Upon information and belief, Akoustis conspired with one or more Qorvo

 employees, including former Qorvo employees who later joined Akoustis (but prior to their

 employment by Akoustis), to violate their legal obligations to Qorvo and misappropriate Qorvo’s

 trade secrets for Akoustis’ benefit. Upon information and belief, it was agreed that if these

 employees would join Akoustis and aid Akoustis in this manner, Akoustis’ resultant success in the

 marketplace would yield substantial financial increase for these employees including through the

 increased value of securities in Akoustis that would be granted to such employees pursuant to their

 anticipated employment with Akoustis. Upon information and belief, Akoustis and the one or more

 employees committed acts in furtherance of the aforesaid conspiracy.

         276.    Akoustis’ prior and continuing conspiracy with such employees to misappropriate

 Qorvo’s trade secrets and confidential information is causing, and threatens to continue causing,

 Qorvo to suffer irreparable harm, including but not limited to loss of business advantage, loss of

 exclusivity rights, and loss of its investment in its trade secrets.



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         277.    As a result of Akoustis’ acts of conspiracy in connection with trade secret

 misappropriation, Qorvo has suffered actual damages in an amount to be proven at trial, and

 Akoustis has been unjustly enriched.

 VI.     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Qorvo respectfully prays for relief as follows:

         1)      Enter a judgment that Akoustis has directly and indirectly infringed the Patents-in-

 Suit;

         2)      Award Qorvo damages in an amount sufficient to compensate it for Akoustis’

 infringement of the Patents-in-Suit, together with pre-judgment and post-judgment interest and

 costs, and all other damages permitted under 35 U. S. C. § 284;

         3)      Find that Akoustis’ infringement of the Patents-in-Suit has been willful and

 deliberate;

         4)      Enter a judgment awarding Qorvo treble damages as a result of Akoustis’ willful

 and deliberate infringement of the Patents-in-Suit, pursuant to 35 U.S.C. § 284;

         5)      Find that Akoustis’ actions render this an exceptional case under 35 U.S.C. § 285

 and award Qorvo its attorneys’ fees, costs and expenses;

         6)      Preliminarily and permanently enjoin, pursuant to 35 U.S.C. § 283, Akoustis, and

 all affiliates, employees, agents, officers, directors, attorneys, successors, and assigns, and all those

 acting on behalf of or in active concert or participation with any of them, from further infringing

 the Patents-in-Suit;

         7)      Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

 agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

 in active concert or participation with any of them, from further falsely advertising the properties

 of its BAW filters;

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        8)       Award Qorvo damages in an amount sufficient to compensate it for Akoustis’ false

 advertising;

        9)       Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

 agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

 in active concert or participation with any of them, from further falsely marking its BAW filters;

        10)      Award Qorvo damages in an amount sufficient to compensate it for Akoustis’ false

 patent marking;

        11)      Award Qorvo damages in an amount sufficient to compensate it for Akoustis’ trade

 secret misappropriation under the North Carolina Trade Secrets Protection Act (N.C. Gen. Stat

 § 66-152 et seq.) and/or under the Defense of Trade Secrets Act (18 U.S.C. § 1832 et seq.);

        12)      Award Qorvo damages, including exemplary damages, punitive damages,

 attorneys’ fees, and costs and expenses in view of Akoustis’ violations under the North Carolina

 Trade Secrets Protection Act (N.C. Gen. Stat § 66-152 et seq.) and/or under the Defense of Trade

 Secrets Act (18 U.S.C. § 1832 et seq.);

        13)      Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

 agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

 in active concert or participation with any of them, from further misappropriating and using

 Qorvo’s trade secrets under the North Carolina Trade Secrets Protection Act (N.C. Gen. Stat § 66-

 152 et seq.);

        14)      Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

 agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

 in active concert or participation with any of them, from further misappropriating and using

 Qorvo’s trade secrets under the Defense of Trade Secrets Act (18 U.S.C. § 1832 et seq.);



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        15)     Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

 agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

 in active concert or participation with any of them, from further selling any products that resulted,

 in whole or in part, from misappropriating Qorvo’s trade secrets under the North Carolina Trade

 Secrets Protection Act (N.C. Gen. Stat § 66-152 et seq.);

        16)     Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

 agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

 in active concert or participation with any of them, from further misappropriating and using

 Qorvo’s trade secrets under the Defense of Trade Secrets Act (18 U.S.C. § 1832 et seq.);

        17)     Award Qorvo damages, including exemplary damages, punitive damages,

 attorneys’ fees, and costs and expenses in view of Akoustis’ wrongful acts committed pursuant to

 a conspiracy in violation of North Carolina law;

        18)     Award Qorvo damages in an amount sufficient to compensate it for Akoustis’

 violation under 18 U.S.C. § 1961 et seq.;

        19)     Award Qorvo damages, including treble damages, punitive damages, attorneys’

 fees, and costs and expenses in view of Akoustis’ violations under 18 U.S.C. § 1961 et seq.;

        20)     Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

 agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

 in active concert or participation with any of them, from further selling any products that resulted,

 in whole or in part, from pattern of racketeering activity under 18 U.S.C. § 1961 et seq.;

        21)     Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

 agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or




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 in active concert or participation with any of them, from further misappropriating and using

 Qorvo’s trade secrets under 18 U.S.C. § 1961 et seq.;

        22)     Award Qorvo damages in an amount sufficient to compensate it for Akoustis’

 unfair and deceptive trade practices;

        23)     Award Qorvo damages, including treble damages, punitive damages, and attorneys’

 fees, in view of Akoustis’ violation of N.C. Gen. Stat. § 75-1.1;

        24)     Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

 agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

 in active concert or participation with any of them, from further unfair and deceptive trade practices

 pursuant to N.C. Gen. Stat. § 75-1.1;

        25)     Order a full and complete accounting to Qorvo for Akoustis’ profits, gains,

 advantages or the value of business opportunities received from the foregoing acts of infringement;

        26)     Award Qorvo all actual, compensatory, consequential, liquidated, treble, and

 special damages to which it is entitled in an amount to be determined at trial;

        27)     Assess punitive damages against Akoustis;

        28)     Award Qorvo all attorneys’ fees and costs to which it is entitled associated with

 bringing and prosecuting this action;

        29)     Award pre-judgment and post-judgment interest against Akoustis; and

        30)     Award Qorvo such other and further relief as the Court deems just and proper.

 DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure and D. Del. LR 38.1, Qorvo

 demands a trial by jury on all issues raised by the Complaint.




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 Dated: Feburary 8, 2023


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